Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 1 of 152 PageID #: 9064
                                                                        2537


  1    UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK
  2    ------------------------------x
                                                09-CR-00466(BMC)
  3    UNITED STATES OF AMERICA,
                                                United States Courthouse
  4                                             Brooklyn, New York

  5               -against-                     December 10, 2018
                                                9:30 a.m.
  6    JOAQUIN ARCHIVALDO GUZMAN
       LOERA,
  7
                  Defendant.
  8
       ------------------------------x
  9
                     TRANSCRIPT OF CRIMINAL CAUSE FOR TRIAL
 10                   BEFORE THE HONORABLE BRIAN M. COGAN
                          UNITED STATES DISTRICT JUDGE
 11                              BEFORE A JURY

 12    APPEARANCES

 13    For the Government:          UNITED STATES ATTORNEY'S OFFICE
                                    Eastern District of New York
 14                                 271 Cadman Plaza East
                                    Brooklyn, New York 11201
 15                                 BY: GINA M. PARLOVECCHIO, ESQ.
                                         ANDREA GOLDBARG, ESQ.
 16                                 Assistant United States Attorneys

 17                                 UNITED STATES ATTORNEY'S OFFICE
                                    Southern District of Florida
 18                                 99 NE 4th Street
                                    Miami, Florida 33132
 19                                 BY: ADAM S. FELS, ESQ.
                                    Assistant United States Attorney
 20
                                    DEPARTMENT OF JUSTICE
 21                                 Criminal Division
                                    Narcotic and Dangerous Drug Section
 22                                 145 N. Street N.E. Suite 300
                                    Washington, D.C. 20530
 23                                 BY: ANTHONY NARDOZZI, ESQ.
                                         AMANDA LISKAMM, ESQ.
 24

 25    (CONTINUED FOLLOWING PAGE)

                         Rivka Teich CSR, RPR, RMR, FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 2 of 152 PageID #: 9065
                                                                        2538


  1    (APPEARANCES CONTINUED)

  2

  3

  4    For the Defendant:           BALAREZO LAW
                                    400 Seventh Street, NW
  5                                 Washington, D.C. 20004
                                    BY: A. EDUARDO BALAREZO, ESQ.
  6
                                    LAW OFFICES OF JEFFREY LICHTMAN
  7                                 11 East 44th Street, Suite 501
                                    New York, New York 10017
  8                                 BY: JEFFREY H. LICHTMAN, ESQ.
                                         PAUL R. TOWNSEND, ESQ.
  9
                                    LAW OFFICE OF PURPURA & PURPURA
 10                                 8 E. Mulberry Street
                                    Baltimore, Maryland 21202
 11                                 BY: WILLIAM B. PURPURA, ESQ.

 12                                 LAW OFFICES OF MICHAEL LAMBERT, ESQ.
                                    369 Lexington Avenue, PMB #229
 13                                 New York, New York 10017
                                    BY: MICHAEL LEIGHT LAMBERT, ESQ.
 14                                      MARIEL COLON MIRO, ESQ.

 15

 16
       Court Reporter:              Rivka Teich, CSR, RPR, RMR, FCRR
 17                                 Phone: 718-613-2268
                                    Email: RivkaTeich@gmail.com
 18
       Proceedings recorded by mechanical stenography.          Transcript
 19    produced by computer-aided transcription.

 20

 21

 22

 23

 24

 25

                         Rivka Teich CSR, RPR, RMR, FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 3 of 152 PageID #: 9066
                                                                        2539
                                  PROCEEDINGS

  1                               (In open court.)

  2               THE COURTROOM DEPUTY:      All Rise.

  3               THE COURT:    Good morning, have a seat.

  4               Before we bring in the jury, a couple of minor

  5    details that I want too clear first with regard to this

  6    weekend's motions.     The Government's motion in limine, I'd

  7    like the defense response on December 12, is that okay, that's

  8    Wednesday.

  9               MR. BALAREZZO:     Yes.

 10               THE COURT:    If the Government wants to reply it can

 11    do so on Thursday.

 12               The defense motion for reconsideration, I'd like the

 13    Government's opposition by Thursday.        And if there is a reply

 14    I'll take that on Saturday.

 15               Then lastly, when is the Government witness who is

 16    subject to the 3500 material that I have to review in camera?

 17    When is that going to be?

 18               MS. PARLOVECCHIO:      As soon as Tuesday afternoon or

 19    possibly Wednesday morning.

 20               THE COURT:    Okay, I'll get to it.      That's fine.

 21    Let's have the jury.

 22               (Jury enters.)

 23               THE COURT:    Everyone can be seated.       Good morning

 24    everyone, welcome back.

 25               The Government may call its next witness.

                         Rivka Teich CSR, RPR, RMR, FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 4 of 152 PageID #: 9067
                                                                        2540
                  TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1                MR. ROBOTTI:    Thank you, Judge.     The Government

  2    calls Tirso Martinez Sanchez.

  3                COURTROOM DEPUTY:      Stand and raise your right hand.

  4                (Witness takes the witness stand.)

  5    TIRSO MARTINEZ SANCHEZ, called as a witness, having been first

  6    duly sworn/affirmed, was examined and testified as follows:

  7                THE WITNESS:    Yes.

  8                COURTROOM DEPUTY:      State and spell your name for the

  9    record.

 10                THE WITNESS:    Tirso Martinez Sanchez, T-I-R-S-O,

 11    M-A-R-T-I -- I'm sorry -- M-A-R-T-I-N-E-Z, S-A-N-C-H-E-Z.

 12                COURTROOM DEPUTY:      Thank you, you may be seated.

 13                THE COURT:   You may inquire.

 14                MR. ROBOTTI:    Thank you.

 15    DIRECT EXAMINATION

 16    BY MR. ROBOTTI::

 17    Q    Good morning.

 18    A    Good morning.

 19    Q    What country are you from?

 20    A    From Mexico.

 21    Q    Are you familiar with the Sinaloa Cartel?

 22    A    Yes.

 23    Q    Did you have a relationship with the Sinaloa Cartel?

 24    A    Yes.

 25    Q    What was that relationship?

                         Rivka Teich CSR, RPR, RMR, FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 5 of 152 PageID #: 9068
                                                                        2541
                  TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A    I worked for the cartel.

  2    Q    Is it fair to say you were a member of that organization?

  3    A    Yes.

  4    Q    During approximately what years were a member of the

  5    Sinaloa Cartel?

  6    A    From approximately 1995 to 2003.

  7    Q    What is the Sinaloa Cartel?

  8    A    Yes, it's a group of people, drug traffickers, that

  9    traffic drugs.

 10    Q    In what country is the Sinaloa Cartel primarily based?

 11    A    In Mexico, Sinaloa, Mexico.

 12    Q    To where did the Sinaloa Cartel primarily send drugs?

 13    A    To the United States.

 14    Q    During the time you were a member of the Sinaloa Cartel,

 15    were you also a member of another cartel?

 16    A    Yes.

 17    Q    What cartel?

 18    A    The Ciudad Juarez.

 19    Q    Who were the leaders of the Sinaloa Cartel while you were

 20    a member?

 21    A    Chapo Guzman, Mayo Zambada, El Azul, Nacho Coronel, and

 22    the Beltran-Leyva brothers.

 23    Q    Who were the leaders of the Juarez Cartel while you were

 24    a member?

 25    A    Amado Carrillo, Vicente Carrillo and Flaco Quirarte.

                         Rivka Teich CSR, RPR, RMR, FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 6 of 152 PageID #: 9069
                                                                        2542
                  TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q    During this times what was relationship between the

  2    Sinaloa Cartel and the Juarez Cartel?

  3    A    They were partners.

  4    Q    Did you view them as the same organization or a different

  5    organization?

  6    A    The same.

  7    Q    How did you refer to that larger organization?

  8    A    El Cartel.

  9    Q    You mentioned Chapo Guzman, do you know his real name?

 10    A    Yes.

 11    Q    What is it?

 12    A    Joaquin Guzman Loera.

 13    Q    Are you familiar with Joaquin Guzman Loera?

 14    A    Yes.

 15    Q    Have you ever met him in person?

 16    A    Yes.

 17    Q    How many times?

 18    A    Twice.

 19    Q    Do you see Joaquin Guzman Loera in the courtroom today?

 20    A    Yes.

 21    Q    Could you please identify him by an article of clothing

 22    that he's wearing?

 23    A    Yes.    He's wearing a blue shirt, short, with a black tie.

 24                MR. ROBOTTI:    Your Honor, could the record reflect

 25    the witness has identified the defendant?

                         Rivka Teich CSR, RPR, RMR, FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 7 of 152 PageID #: 9070
                                                                        2543
                  TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1               THE COURT:    It does.

  2    Q    What was your relationship with the defendant at the time

  3    you were a member of the cartel?

  4    A    Good, I worked for the cartel.

  5    Q    Specifically what was your job?

  6    A    Bring the drugs to the United States.

  7    Q    What primary method of transportation did you use?

  8    A    Trains.

  9    Q    Could you describe your responsibilities with respect to

 10    that train route?

 11    A    Yes, yes.    I was responsible for bringing the drugs into

 12    the United States and having them distributed.

 13    Q    Did you oversee that train route?

 14    A    Yes, I managed it.

 15    Q    To what U.S. cities did you send drugs?

 16    A    Los Angeles, California, Chicago and New York.

 17    Q    What kind of drugs did you transport to the United States

 18    over this train route?

 19    A    Mostly cocaine and marijuana.

 20    Q    Let's talk a little about your background.          Where are you

 21    from in Mexico?

 22    A    Guadalajara Jalisco, Mexico.

 23    Q    What is your highest level of education?

 24    A    The eighth grade in the United States.

 25    Q    The equivalent of eighth grade in the United States?

                         Rivka Teich CSR, RPR, RMR, FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 8 of 152 PageID #: 9071
                                                                        2544
                  TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A    Yes.

  2    Q    You went to school in Mexico?

  3    A    Yes.

  4    Q    About how old when you stopped going to school?

  5    A    I stopped on two occasions, but I was 13 when I stopped

  6    going to school.

  7    Q    How is your reading ability?

  8    A    Not too good.

  9    Q    Did you work growing up?

 10    A    Yes.

 11    Q    Doing what in general?

 12    A    I washed cars, did shoes, I worked at a seafood stand.

 13    Q    At some point did you move away from Guadalajara?

 14    A    Yes.

 15    Q    To where?

 16    A    To Los Angeles, California.

 17    Q    About what year was that?

 18    A    Approximately in '86.

 19    Q    So about how old were you?

 20    A    I was approximately 18, 19 years old.

 21    Q    From 1986 to 1994 where did you live?

 22    A    In Los Angeles, California.

 23    Q    During this time what was your main source of income?

 24    A    From the sale of drugs.

 25    Q    What type of drug?

                         Rivka Teich CSR, RPR, RMR, FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 9 of 152 PageID #: 9072
                                                                        2545
                  TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A    Cocaine.

  2    Q    On average from 1986 to 1994 about how much cocaine per

  3    year were you distributing in Los Angeles?

  4    A    I started selling grams and later on hundreds of kilos.

  5    Q    When you entered the United States, did you enter it

  6    illegally or legally?

  7    A    Illegally.

  8    Q    About how many times did you enter illegally?

  9    A    Fifty, 100 times.

 10    Q    Were you ever arrested for illegal entry?

 11    A    Yes.

 12    Q    How many times?

 13    A    Two times.

 14    Q    Did you ever enter the United States with a fake

 15    passport?

 16    A    Many times.

 17    Q    How many fake passports did you have?

 18    A    I used five to ten fake passports.

 19    Q    Have you ever personally used marijuana?

 20    A    Yes.

 21    Q    How about cocaine?

 22    A    Yes.

 23    Q    During what years did you use those drugs?

 24    A    I started using drugs in approximately 1981, 1982.

 25    Q    Until when?

                         Rivka Teich CSR, RPR, RMR, FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 10 of 152 PageID #: 9073
                                                                         2546
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Up until 2008, 2007, 2008.

  2    Q     From the early '80s until 2007 or 2008, was there ever a

  3    period that you stopped using drugs?

  4    A     Yes.

  5    Q     During what years?

  6    A     Approximately from 2001 or 2002 until 2004.

  7    Q     When you used cocaine, how often did you use it?

  8    A     I would say daily.

  9    Q     How about marijuana?

 10    A     Three or four times a week.

 11    Q     Did you also use alcohol?

 12    A     Yes.

 13    Q     During what years?

 14    A     Same years, from 1981, 1982 until 2008.

 15    Q     Did you also stop using alcohol the same years you

 16    stopped using drugs?

 17    A     Yes.

 18    Q     How would you describe your relationship with alcohol?

 19    A     I'm an alcoholic.

 20    Q     When you were drinking, how often would you drink?

 21    A     Almost every day.

 22    Q     How many years has it been since you used drugs and

 23    alcohol?

 24    A     For approximately ten or 11 years.

 25    Q     What, if any, impact has your drug and alcohol use had on

                          Rivka Teich CSR, RPR, RMR, FCRR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 11 of 152 PageID #: 9074
                                                                         2547
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    your memory on the events that you're testifying about today?

  2    A     None.

  3    Q     When you were using drugs and alcohol, typically at what

  4    times of day would you use them?

  5    A     At night.

  6    Q     Did you typically drink during the times you were

  7    engaging in drug trafficking?

  8    A     No.

  9    Q     Did you typically use drugs during that time?

 10    A     When I was working, no.

 11    Q     I'd like to show you what is in evidence as Government's

 12    Exhibit 74A.     Do you recognize this?

 13    A     Yes.

 14    Q     Who is that?

 15    A     Me.

 16    Q     About when was this photograph taken?

 17    A     Yes, that was May 2001 when I got married.

 18    Q     Looking at Government's Exhibit 74B, who is the person in

 19    the right of the photograph?

 20    A     Me.

 21    Q     About when was this taken?

 22    A     Approximately 2003, 2004.

 23    Q     Do you have any aliases?

 24    A     Many.

 25    Q     What aliases?

                          Rivka Teich CSR, RPR, RMR, FCRR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 12 of 152 PageID #: 9075
                                                                         2548
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     El Mecanico, El Centenario, El Futbolista, Jose Luis

  2    Martinez Sanchez, Jose Martinez, Manuel Martinez Ochoa, Rafael

  3    Barragan, Arturo Menendez and many others.

  4    Q     Why did you have so many aliases?

  5    A     Because in case of an investigation I wouldn't want the

  6    authorities to know my real name.

  7    Q     One of your aliases was Futbolista?

  8    A     Yes.

  9    Q     What does that mean?

 10    A     Well, they called me Futbolista because I liked to play

 11    soccer.    I was also an owner of some soccer teams.

 12    Q     Where did you own those teams?

 13    A     In Mexico.    In Queretaro, Mexico; in Celaya Guanajuato,

 14    Mexico, Irapuato Guanajuato, Mexico, and La Piedad Nochoacan

 15    Mexico.

 16    Q     With what kind of money did you buy those soccer teams?

 17    A     With the sale of drugs.

 18    Q     Let's talk about your early period with the cartel.

 19    Earlier you mentioned someone named Amado Carrillo, could you

 20    remind the jury who he was?

 21    A     Yes, he was a drug trafficker that trafficked drugs.

 22    Q     I'm going to show you what is marked as Government's

 23    Exhibit 9 in evidence.      Do you recognize this person?

 24    A     Yes.

 25    Q     Who is this?

                          Rivka Teich CSR, RPR, RMR, FCRR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 13 of 152 PageID #: 9076
                                                                         2549
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Amado Carrillo.

  2    Q     Do you know what his alias was?

  3    A     Yes.

  4    Q     What was that?

  5    A     El Senor de Los Cielos, the Lord of the Skies.

  6    Q     Do you know why he was called that?

  7    A     Yes.

  8    Q     How did you know that?

  9    A     Through Flaco Quirarte.

 10    Q     Who was Flaco Quirarte?

 11    A     Another member of the Juarez Cartel, a drug trafficker.

 12    Q     What was his full name?

 13    A     Eduardo Gonzalez Quirarte.

 14    Q     For whom, if anyone, did he work directly?

 15    A     For Amado Carrillo.

 16    Q     What did he tell you about Amado Carrillo's alias, the

 17    Lord of the Skies?

 18    A     Well, that they called his Compadre, Amado Carrillo, the

 19    Lord of the Skies, because most the drugs that he brought from

 20    Colombia to Mexico he brought by plane.

 21    Q     Are you familiar with Flaco Quirarte?

 22    A     Yes.

 23    Q     Have you ever met him?

 24    A     Yes.

 25    Q     About how many times?

                          Rivka Teich CSR, RPR, RMR, FCRR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 14 of 152 PageID #: 9077
                                                                         2550
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Many times, 50, 100, more times.

  2    Q     I'm showing you what is in evidence as Government's

  3    Exhibit 83, this one is marked for identification, sorry about

  4    that.

  5                 Do you recognize this?

  6    A     Yes.

  7    Q     Who is that?

  8    A     Flaco Quirarte.

  9                 MR. ROBOTTI:   The Government offers Government's

 10    Exhibit 83 into evidence.

 11                 MR. PURPURA:   No objection.

 12                 THE COURT:   Received.

 13                 (Government Exhibit 83, was received in evidence.)

 14    BY MR. ROBOTTI::

 15    Q     Is this the person you identified as Flaco Quirarte?

 16    A     Yes.

 17    Q     At some point did you start working for him?

 18    A     Yes.

 19    Q     Doing what?

 20    A     Selling drugs in the United States.

 21    Q     Where in the United States?

 22    A     In Los Angeles, California.

 23    Q     During what years were you selling drugs for Flaco

 24    Quirarte in Los Angeles?

 25    A     Approximately from '94 to '95.

                          Rivka Teich CSR, RPR, RMR, FCRR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 15 of 152 PageID #: 9078
                                                                         2551
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     How were the drugs transported to Los Angeles at this

  2    time?

  3    A     Yes, they were transported via cargo trucks from Ciudad

  4    Juarez to El Paso, Texas; and from El Paso, Texas, to Los

  5    Angeles.

  6    Q     Approximately how many shipments did you receive in Los

  7    Angeles via this route?

  8    A     Between seven, eight, or ten shipments.

  9    Q     How large were the shipments that Flaco Quirarte were

 10    sending to Los Angeles?

 11    A     Yes, between 1200 to 1500 to 1700 kilos.

 12    Q     At some point did you start receiving drugs from Flaco

 13    Quirarte elsewhere?

 14    A     Yes.

 15    Q     Where was that?

 16    A     In Chicago.

 17    Q     About when did that change occur from Los Angeles to

 18    Chicago?

 19    A     Approximately '96, '96, '97 approximately.

 20    Q     What was your role in this new route to Chicago?

 21    A     I distributed the drugs.

 22    Q     Where were you living when the shipments started going to

 23    Chicago?

 24    A     Well, I lived in Mexico in Guadalajara Jalisco, Mexico.

 25    Q     Why had you left Los Angeles?

                          Rivka Teich CSR, RPR, RMR, FCRR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 16 of 152 PageID #: 9079
                                                                         2552
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Because I felt that the police was surveilling me.

  2    Q     How you were receiving drugs in Chicago if you were

  3    living in Mexico?

  4    A     Through my workers.

  5    Q     How did you find your workers in Chicago?

  6    A     They were people I had known for many years from Mexico.

  7    Q     How many workers did you have in Chicago at this time?

  8    A     I had between three to five workers.

  9    Q     How did you communicate with them?

 10    A     By phone.

 11    Q     Now what was the method of transportation from Mexico to

 12    Chicago?

 13    A     Via cargo trucks.

 14    Q     How, if at all, were the drugs hidden in the cargo

 15    trucks?

 16    A     Yes, they were in boxes that contained plastic forks,

 17    plastic spoons, plates and glasses.

 18    Q     About what quantity were these shipments?

 19    A     Yes, approximately between 300 to 600 or even more kilos.

 20    Q     Do you know to whom the drugs being shipped on this route

 21    belonged?

 22    A     Yes.

 23    Q     How do you know that?

 24    A     Because Flaco Quirarte told me.

 25    Q     What did Flaco Quirarte tell you?

                          Rivka Teich CSR, RPR, RMR, FCRR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 17 of 152 PageID #: 9080
                                                                         2553
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     That those drugs belonged to Mayo Zambada and Amado

  2    Carrillo and Flaco Quirarte.

  3    Q     So showing you Government's Exhibit 2A in evidence.           Do

  4    you recognize this person?

  5    A     Yes.

  6    Q     Who is that?

  7    A     Mayo Zambada.

  8    Q     Did you have an understanding of the relationship between

  9    Mayo Zambada and the defendant during this time period?

 10    A     Yes.

 11    Q     What was that understanding based upon?

 12    A     In that Alfredo Vasquez had told me.

 13    Q     We'll talk about Alfredo Vasquez in a couple of minutes,

 14    but in general who was he?

 15    A     Alfredo Vasquez was a drug trafficker who worked for

 16    Chapo Guzman.     He was also Chapo Guzman's Compadre.

 17    Q     What, if any, role did he have within the cartel?

 18    A     He was the person who transported the drugs to the United

 19    States.

 20    Q     Did you engage in drug trafficking with Alfredo Vasquez?

 21    A     Yes.

 22    Q     What did Alfredo Vasquez tell you about the relationship

 23    between the defendant and Mayo Zambada in the 1990s.

 24    A     That they were partners in the drug business.

 25    Q     Approximately when was this conversation with Alfredo

                          Rivka Teich CSR, RPR, RMR, FCRR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 18 of 152 PageID #: 9081
                                                                         2554
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Vasquez?

  2    A     That was approximately in the year of '96 or '97.

  3    Q     Now after these drug shipments from Flaco Quirarte to

  4    Chicago, what happened next?

  5    A     After those shipments, the way in which the drugs were

  6    transported to the United States changed.

  7    Q     How did it change?

  8    A     Now the transportation was by train.

  9    Q     About what year did that change occur?

 10    A     Approximately in the year of '97.

 11    Q     Beginning in 1997 who was in charge of that train route?

 12    A     Alfredo Vasquez.

 13    Q     I'm going to show you what is in evidence as Government's

 14    Exhibit 97B, do you recognize this person?

 15    A     Yes.

 16    Q     Who is that?

 17    A     Alfredo Vasquez.

 18    Q     How does this photograph compare to Alfredo Vasquez at

 19    the time that you knew him?

 20    A     Very different.     He looks much younger there.

 21    Q     When did you first meet Alfredo Vasquez?

 22    A     Approximately the year of '94 or '95.

 23    Q     Where did you meet him, what city?

 24    A     In Guadalajara Jalisco, Mexico.

 25    Q     How did you meet him?

                          Rivka Teich CSR, RPR, RMR, FCRR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 19 of 152 PageID #: 9082
                                                                         2555
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Through his brother, Tono, El Loco.

  2    Q     Were you interested in meeting Alfredo Vasquez at this

  3    time?

  4    A     Yes.

  5    Q     Why?

  6    A     Because, well, I wanted to meet Alfredo Vasquez because I

  7    wanted to get to Chapo Guzman through him.

  8    Q     What do you mean by that?

  9    A     Well, I wanted to -- well, since he worked for Chapo

 10    Guzman, meaning Alfredo Vasquez, and since they were compadres

 11    I wanted to work with Chapo Guzman through him.

 12    Q     After you met Alfredo Vasquez, how did your relationship

 13    progress with him over the next couple of years?

 14    A     It was good, we had a good relationship.

 15    Q     During the first couple of years that you knew him, how

 16    often did you speak with him?

 17    A     Well, we spoke frequently, sometimes three times a week,

 18    sometimes one time a week.

 19    Q     Typically where were you speaking to him?

 20    A     Well, we would go out drinking to restaurants or dance

 21    places or even at the Pelenque.

 22    Q     In general, what did you speak about?

 23    A     Well, we spoke about drug-related things.         We spoke about

 24    our bosses.

 25    Q     When you say we spoke about our bosses, who are you

                          Rivka Teich CSR, RPR, RMR, FCRR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 20 of 152 PageID #: 9083
                                                                         2556
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    referring to?

  2    A     Well, he referred to Chapo Guzman; and I referred to

  3    Flaco Quirarte.

  4    Q     From your perspective, what was the purpose of the

  5    conversations?

  6    A     Well, like I said, I wanted to work for Chapo Guzman, and

  7    I wanted for Alfredo to trust me.

  8    Q     What is your understanding of what it meant that the

  9    defendant was a Compadre of Alfredo Vasquez?

 10    A     Well, Alfredo Vasquez told me that Chapo Guzman was --

 11                 MR. PURPURA:   Objection, your Honor.      801(d)(2)(E)

 12    at this point.

 13                 THE COURT:   Overruled.

 14                 MR. ROBOTTI:   You can continue.

 15    A     -- of Alfredo Vasquez's son.

 16    Q     Since that got cut off I'll reask the question.

 17                 What was your understanding of what it meant that

 18    Alfredo Vasquez was compadres with the defendant?

 19    A     Yes, Alfredo Vasquez told me that Chapo Guzman was the

 20    godfather of Alfredo Vasquez's son.

 21    Q     At the time you were speaking with Vasquez, did you know

 22    where the defendant was living?

 23    A     Yes.

 24    Q     How did you know that?

 25    A     Because Alfredo Vasquez told me.

                          Rivka Teich CSR, RPR, RMR, FCRR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 21 of 152 PageID #: 9084
                                                                         2557
                               SIDEBAR CONFERENCE

  1    Q     What did he tell you?

  2    A     Well, he told me that his Compadre, Chapo Guzman, was in

  3    jail.

  4    Q     Did Vasquez speak to you about the methods he used to

  5    transport drugs into the United States for the defendant?

  6    A     Yes.

  7    Q     In general what were the different ways that Vasquez told

  8    you about?

  9                 MR. PURPURA:   Objection.

 10                 THE COURT:   Need a sidebar?

 11                 MR. PURPURA:   Sure.

 12                 (Continued on the next page.)

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 22 of 152 PageID #: 9085
                                                                         2558
                               SIDEBAR CONFERENCE

  1                MR. PURPURA:    I don't believe there is a basis for

  2    the statement coming in under 801(d)(2)(E) at this point.

  3    They are not working together.        They are not co-conspirators

  4    statements.    If anything he's soliciting to try to get a job,

  5    eventually, if you believe him, to let Mr. Guzman into his

  6    group.    It's not in furtherance of the conspiracy whatsoever.

  7                MR. ROBOTTI:    Judge, I think if he's being solicited

  8    to get a job in the cartel, as Mr. Purpura just said, those

  9    statements are in furtherance of the conspiracy.           These

 10    statements are forming the foundation of trust between two

 11    co-conspirators as they build their relationship and begin

 12    working together in the cartel.

 13                THE COURT:    That's what I thought.

 14                MR. ROBOTTI:    I can cite to Maldonado Rivera Second

 15    Circuit case 1990.      Statements are in furtherance of the

 16    conspiracy if they provide reassurance or seek to induce a

 17    co-conspirator's assistance or serve to foster trust and

 18    cohesiveness, or inform each other as to the progress or

 19    status of the conspiracy.

 20                I believe here I've laid a proper foundation for all

 21    of these to come in.

 22                MR. PURPURA:    What I suggest is that he, that this

 23    witness, is the one of that solicited the information from

 24    Mr. Vasquez.     Therefore, it's not in furtherance of the

 25    conspiracy, whatsoever.

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 23 of 152 PageID #: 9086
                                                                         2559
                               SIDEBAR CONFERENCE

  1                THE COURT:    Why is Vasquez telling him?

  2                MR. PURPURA:    It may be an issue of interest.

  3                THE COURT:    I was going to go there next.

  4                MR. PURPURA:    If he was a defendant and this case

  5    against him, I am deprived of the Confrontation Clause to

  6    confront him about these particular statements because Vasquez

  7    is not here, he's in prison in the United States.           That's the

  8    issue, it's a Crawford issue.

  9                THE COURT:    Now I've got two objections.       I've got

 10    the 801(d)(2)(E) and Crawford.

 11                MR. ROBOTTI:    Your Honor, with respect to the

 12    Crawford issue, my understanding is that as long as they fall

 13    within the co-conspirator exception here, which they do, there

 14    is no Crawford issue.      I think that these statements, I laid

 15    the proper foundation for.       Both of these individuals during

 16    this time period are speaking with each other to develop a

 17    relationship of trust so that they can engage in future drug

 18    trafficking.     That falls squarely within the Second Circuit

 19    precedent saying that these are in furtherance of the

 20    conspiracy.    I think that these are clear under Maldonado

 21    Rivera that they are inducing.

 22                THE COURT:    I got your point.

 23                MR. PURPURA:    They are not admitted against Vasquez,

 24    they are admitted against Guzman.        That's the difference.      I

 25    bet in Maldonado it was being admitted against one of the

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 24 of 152 PageID #: 9087
                                                                         2560
                               SIDEBAR CONFERENCE

  1    defendants who was speaking at that point.

  2                MR. ROBOTTI:    A co-conspirator statements are

  3    admissible against the co-conspirator.

  4                MR. PURPURA:    It's not co-conspirator, is what I'm

  5    saying.

  6                THE COURT:    I understand your point.      I do think

  7    that they are forming their relationship and they are telling

  8    each other things that they are doing illegally in order to

  9    further that relationship.       I think that's 801(d)(2)(E).

 10                I'll overrule the objection.

 11                MR. PURPURA:    May I have and continued objection?

 12                THE COURT:    Yes, sure.

 13                (End of sidebar conference.)

 14                (Continued on the next page.)

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 25 of 152 PageID #: 9088
                                                                         2561
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1                 (In open court.)

  2    BY MR. ROBOTTI::

  3    Q     Before we broke, I asked you if Vasquez told you about

  4    the different ways that he transported drugs for the

  5    defendant.

  6    A     Yes.

  7    Q     In general, what were the different ways that he told you

  8    about?

  9    A     Well, he told me that they transported in pepper cans, by

 10    train, via a tunnel they had in Tijuana.

 11    Q     Let's walk through each of those methods.         What did

 12    Vasquez tell you about the chili cans in general?

 13    A     Well, Vasquez told me that they put the kilos of cocaine

 14    inside cans that had peppers and vinegar.

 15    Q     It what was Vasquez's role in this chili can route?

 16    A     He was the one who organized, who organized those

 17    shipments.

 18    Q     For whom, if anyone, was he working while doing this?

 19    A     For Chapo Guzman.

 20    Q     What did he tell you about the packaging process for the

 21    chili cans?

 22    A     Yes, he told me that they would put the kilo of cocaine

 23    inside a vacuum-sealed bag.       Then they would put it inside a

 24    can and they would pour vinegar on top.         Then they would seal

 25    it with a machine that they had.        And that they would then

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 26 of 152 PageID #: 9089
                                                                         2562
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    place the logo with the brand from the company, La Costena.

  2    Q     How is that brand used in this route?

  3    A     Well, it was to make it to seem like the shipment was

  4    from that company, from La Costena.

  5    Q     You mentioned that there was vinegar inside the chili

  6    cans, was there anything else?

  7    A     Yes.    Sometimes they placed sand in there to make it seem

  8    like it was liquid.

  9    Q     What was the purpose of the vinegar or the sand?

 10    A     It was because if they were stopped at a check point and

 11    they were searched, they could see that the can contained the

 12    weight it said on the outside.

 13    Q     What, if anything, did they use to package the drugs?

 14    A     Yes, they use the vacuum-sealed bags.         And they used a

 15    machine with which they sealed the can.

 16    Q     Where were these chili cans packaged?

 17    A     In Guadalajara Jalisco, Mexico.

 18    Q     How did they transport the chili cans from there?

 19    A     By cargo truck.

 20    Q     Where did they go?

 21    A     From Guadalajara Jalisco to Tijuana, Baja California,

 22    Mexico.

 23    Q     Where did they go from there?

 24    A     To the United States.

 25                 (Continued on next page.)

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 27 of 152 PageID #: 9090
                                                                         2563
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    DIRECT EXAMINATION (Continued)

  2    BY MR. ROBOTTI::

  3    Q     Now, according to Vasquez, during approximately what time

  4    period did he and the defendant use this route?

  5    A     He told me in the '90s.      I'm sorry, in the year 1990.

  6    1990.   He didn't specify how many years, but he said they used

  7    it for a while.

  8    Q     Are you familiar with the Raul Guzman, Sr.?

  9    A     Yes.

 10    Q     How so?

 11    A     Well, Raul Guzman was the other person who worked with

 12    Alfredo Vasquez.

 13    Q     How do you know that?

 14    A     Through Raul Vasquez, he told me.

 15    Q     And what, if any, role does he have in the -- what, if

 16    any, role did he have in the chili tankers?

 17    A     Yes, he was the other person in charge.         Everything was

 18    done in Raul Guzman's warehouses.

 19    Q     Did Raul Guzman, Sr. have a son?

 20    A     Yes.

 21    Q     What was his name?

 22    A     Same name, Raul Guzman, Jr.

 23    Q     What, if any, significant event occurred in respect to

 24    the chili tankers?

 25    A     There was a five-ton seizure.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 28 of 152 PageID #: 9091
                                                                         2564
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     How do you know that?

  2    A     Alfredo Vasquez told me.

  3    Q     Where was that seizure?

  4    A     In Tecate, Baja California.

  5    Q     And after that seizure, what happened with respect to the

  6    tankers?

  7    A     Well, he told me they stopped using that method.

  8    Q     Now, you also mentioned that Vasquez told you about a

  9    tunnel.    What tunnel?

 10    A     Yes.    Yes, it was a tunnel in Tijuana and let out in San

 11    Diego, California.

 12    Q     And what was the purpose of the tunnel?

 13    A     Yes, he told me that it was -- the difficulty crossing

 14    drugs into the United States through the checkpoints, so they

 15    would use the tunnel.

 16    Q     And whose tunnel was it?

 17    A     Chapo Guzman.

 18    Q     And do you know what happened to this tunnel?

 19    A     I don't know.

 20    Q     You mentioned that Vasquez also told you about a previous

 21    train route.

 22                 What did he say about that?

 23    A     Yes.    Vasquez told me that they had used a train route

 24    that went from Guadalajara, Jalisco to Mexicali, Baja

 25    California.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 29 of 152 PageID #: 9092
                                                                         2565
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q      And who was involved in that train route?

  2    A      Alfredo Vasquez and the owner was Chapo Guzman.

  3    Q      And approximately when did Vasquez say that he and the

  4    defendant used this train route?

  5    A      He mentioned in 1988 or something like that to me.

  6    Q      And do you know what the -- do you know what type of

  7    drugs were transported over this train route?

  8    A      Yes.

  9    Q      And it what was that?

 10    A      Cocaine and marijuana.

 11    Q      And do you know what the drugs were in?

 12    A      Inside in a tanker car.

 13    Q      Now, earlier you mentioned Raul Guzman, Sr.

 14                  Do you recall any notable events related to him?

 15    A      Yes.

 16    Q      And what happened to him?

 17                  MR. PURPURA:   Objection.

 18                  THE COURT:   Sustained.

 19    Q      How do you know what happened to Raul Guzman, Sr.?

 20    A      Yes.    Through Alfredo Vasquez.

 21    Q      And what did Alfredo Vasquez tell you about Raul Guzman,

 22    Sr.?

 23    A      That he was killed.

 24    Q      And did Alfredo Vasquez tell you about the events leading

 25    up to his death?

                         LINDA D. DANELCZYK, RPR, CSR, CCR
                               Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 30 of 152 PageID #: 9093
                                                                         2566
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Yes.

  2    Q     And what did he tell you?

  3                 MR. PURPURA:   Objection.    Continued.

  4                 THE COURT:   I think we're get a bit far.

  5                 MR. ROBOTTI:   May we approach, Your Honor?

  6                 THE COURT:   Okay.

  7                 (Continued on the next page.)

  8                 (Sidebar conference.)

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 31 of 152 PageID #: 9094
                                                                         2567
                               SIDEBAR CONFERENCE

  1                (The following occurred at sidebar.)

  2                MR. ROBOTTI:    Judge, this is the last event that

  3    we're going through in these statements here.

  4                Look, at this time period, the witness is being

  5    recruited to join the Sinaloa Cartel.         Alfredo Vasquez and the

  6    witness are having lengthy conversations about the history of

  7    the organization.

  8                And a large scale criminal organization like that,

  9    knowing the history of the organization is essential to

 10    forming a basis of trust in becoming a future member of the

 11    organization.     They have to tell you about this in order to be

 12    sure that they can trust you.

 13                THE COURT:    Okay, that's the theory upon which I

 14    have let it go so far.      But I just think this last question,

 15    at least it's really not part of the creation of the

 16    relationship, as I can tell, as far as I can tell.

 17                Why does that answer, which I think I know what he's

 18    going to say, why does that further the relationship that

 19    Vasquez is trying to create by giving him all this

 20    information?

 21                MR. ROBOTTI:    Your Honor, I would say that this is

 22    perhaps the most important conversation between them.           Because

 23    at this point you have conversations about drug trafficking,

 24    and now he is taking it to the next step and he is going to

 25    tell him about assassinations that occurred as part of this

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 32 of 152 PageID #: 9095
                                                                         2568
                               SIDEBAR CONFERENCE

  1    organization making sure that this witness is willing to get

  2    involved in this type of organization.

  3                I think it shows the deepest level of trust of all

  4    of those conversations here higher, and that's why I would say

  5    it's in furtherance of the conspiracy.         And there are a number

  6    of Second Circuit case laws, which I have some of that over at

  7    the podium, where the Second Circuit has upheld coconspirators

  8    discussing murders by other members of the conspiracy.

  9                THE COURT:    Right, but we're in the formative stages

 10    here.

 11                MR. ROBOTTI:    That's correct, Your Honor.

 12                THE COURT:    And I think that gets in a lot, but it's

 13    to form a conspiracy to import drugs, it's not to form a

 14    conspiracy to murder people.

 15                MR. ROBOTTI:    It's also, Your Honor, delineating who

 16    the enemies are from the organization, which is an important

 17    thing to know if you're going to be a member of this

 18    organization.

 19                You have to know it's the Sinaloa Cartel against the

 20    Tijuana Cartel in order to make sure you can keep yourself

 21    safe and you know who the engage in the drug trafficking and

 22    who not to.

 23                The primary means of method of this organization, as

 24    charged by the government, is violence.         And in order to

 25    become a member of this organization, you have to know that

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 33 of 152 PageID #: 9096
                                                                         2569
                               SIDEBAR CONFERENCE

  1    violence is involved.

  2                THE COURT:    You know, if you were asking if you were

  3    trying to commit acts of violence, I can see it, but to say

  4    historically we've done this, especially since I think it is

  5    pretty well known that they had done this, I don't really see

  6    it as Vasquez interviewing him and saying -- if he said to the

  7    witness -- if Vasquez said to the witness are you willing to

  8    do this to be become part of our conspiracy, then I could see

  9    it.   But other than that, it could be so many other -- it

 10    could be boastfulness, it could be -- I'm going to sustain the

 11    objection.

 12                MR. ROBOTTI:    Just one further point, Your Honor.

 13    While a number of these things about this event are publicly

 14    widely known, the specific fact that are told from Vasquez to

 15    this witness about Raul Guzman's involvement, the fact that

 16    his truck had identifying marks on it, the fact he was later

 17    killed in retaliation for the attack at Christine's, those

 18    things are not necessarily publicly known.           And I think the

 19    fact that he is conveying those to the witness shows the level

 20    of trust that they have for the organization.

 21                THE COURT:    I think it's too far from in the central

 22    goal of the conspiracy.      It is conceivably a means and method,

 23    but it is not what he is being hired for so it's not in enough

 24    furtherance.     I'm going to sustain the objection.

 25                MR. ROBOTTI:    Okay.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 34 of 152 PageID #: 9097
                                                                         2570
                               SIDEBAR CONFERENCE

  1                (End of sidebar conference.)

  2                (Continued on the next page.)

  3

  4

  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 35 of 152 PageID #: 9098
                                                                         2571
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1                 (In open court; Jury present.)

  2    BY MR. ROBOTTI::

  3    Q     Now are you familiar with someone known as Pollo?

  4    A     Yes.

  5    Q     And who is that?

  6    A     Chapo Guzman's brother.

  7    Q     And how do you know about him?

  8    A     Through Alfredo Vasquez.

  9    Q     And what did Alfredo Vasquez tell you about Arturo

 10    Guzman?

 11    A     He told me he managed Chapo Guzman's drugs.          And Chapo --

 12                 MR. PURPURA:   Objection.    Continuing.

 13                 THE COURT:   I know you're continuing, so I'll

 14    overrule.

 15    A     -- and Chapo Guzman was not happy with the way he was

 16    doing it.

 17    Q     And why did you understand that to mean?

 18    A     Because he wasn't doing it well.

 19    Q     And was there a plan to remediate the situation?

 20    A     Yes.

 21    Q     What was that?

 22    A     He was going to have Mayo Zambada manage the drugs, Chapo

 23    Guzman that is.

 24    Q     So Chapo Guzman was going to have Mayo Zambada manage the

 25    drugs?

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 36 of 152 PageID #: 9099
                                                                         2572
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Yes.

  2    Q     And about when was this conversation with Vasquez?

  3    A     Approximately in 1996, '97.

  4    Q     And what was Vasquez's reaction to this plan?

  5    A     He became happy.

  6    Q     And why?

  7    A     Because he was going to receive money.

  8    Q     Now at the time of this conversation, you mentioned the

  9    defendant was in jail; is that right?

 10    A     Yes, that's correct.

 11    Q     So how did Vasquez communicate with the defendant,

 12    despite him being in jail?

 13    A     He would go visit him, and through his attorneys.

 14    Q     And what do you mean "through his attorneys"?

 15    A     Chapo Guzman would send Alfredo Vasquez messages, and

 16    Alfredo Vasquez would return them to Chapo Guzman.

 17    Q     And do you know whether Mayo Zambada, in fact, started

 18    managing the defendant's drugs shipments?

 19    A     Yes.

 20    Q     How do you know that?

 21    A     Through Alfredo Vasquez.

 22    Q     And what did he tell you?

 23    A     Well, he said he was going to be receiving a million

 24    dollars soon from Chapo Guzman through Mayo Zambada.

 25    Q     And about when did Vasquez tell you that?

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 37 of 152 PageID #: 9100
                                                                         2573
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     During that same time period, the years of 1996, '97.

  2    Q     Now, have you ever been to a cock fight?

  3    A     Yes.

  4    Q     When?

  5    A     Many times.

  6    Q     What's a cock fight?

  7    A     A cock fight is when you strap a blade to the leg of two

  8    cocks and you put them to fight each other until one of them

  9    dies.

 10    Q     And what's the purpose of those fights?

 11    A     To bet money.

 12    Q     Are those legal or illegal?

 13    A     It's legal.

 14    Q     Where did you go to cock fights in Mexico?

 15    A     Many parts in the Mexican republic.        In Guadalajara.

 16    Leon, Guanajuato.     Monterey.    Aguas Calientes.     Texcoco in the

 17    State of Mexico.     And many other places.

 18    Q     And you mentioned earlier that you went with Vasquez on

 19    some occasions; is that right?

 20    A     Yes.

 21    Q     Did you ever see anyone else who worked in the cartel at

 22    cock fights?

 23    A     Yes.

 24    Q     And who was that?

 25    A     Miguel Angel, El Gordo.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 38 of 152 PageID #: 9101
                                                                         2574
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     And so the name is Miguel Angel, and the alias is

  2    El Gordo?

  3    A     Miguel, yes.    Alias El Gordo.

  4    Q     Now at this cock fight, did you actually speak with

  5    Miguel Angel or did Vasquez just point him out?

  6    A     No, he only pointed him out.

  7    Q     And about when was this cock fight when you saw him?

  8    A     Approximately in 1996, beginning of '97.

  9    Q     And what, if anything, did Vasquez say about Miguel

 10    Angel, alias El Gordo?

 11    A     Yes, he told me that Miguel, El Gordo, worked for Chapo

 12    Guzman bringing down airplanes that were loaded with cocaine

 13    from Columbia in the area near Celaya Guanajuato Mexico.

 14    Q     And what did you understand to mean "bringing down

 15    planes" filled with cocaine?

 16    A     They would arrive in clandestine air strips.

 17    Q     Now, had you ever met Miguel Angel before that cock

 18    fight?

 19    A     No.

 20    Q     And did you ever see him again?

 21    A     No.

 22    Q     Now, I'd like to direct your attention back to 1997.

 23                You mentioned that Vasquez began running the train

 24    route; is that right?

 25    A     That's right.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 39 of 152 PageID #: 9102
                                                                         2575
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     And did you have any involvement in Vasquez's train

  2    route?

  3    A     Yes.

  4    Q     And what was your involvement?

  5    A     I distributed the drugs in Chicago.

  6    Q     And for how long was that train route in operation?

  7    A     Approximately two years.

  8    Q     Which years?

  9    A     Approximately '97 to '98.

 10    Q     And what types of drugs did Vasquez transport over this

 11    train route?

 12    A     Cocaine.

 13    Q     Were you physically in Chicago receiving these shipments?

 14    A     No.

 15    Q     And who was receiving in Chicago?

 16    A     My workers.

 17    Q     And did you speak to your workers about those shipments?

 18    A     Yes.

 19    Q     I'd like to show you what's in evidence as Government

 20    Exhibit 502.

 21                 (Exhibit published.)

 22    Q     Where did those train shipments begin?

 23    A     Mexico City.

 24    Q     And where did they cross the border?

 25    A     Through Nuevo Laredo.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 40 of 152 PageID #: 9103
                                                                         2576
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     And is Texas just across the border?

  2    A     Yes.

  3    Q     And from there where did the shipments go?

  4    A     To Chicago.

  5    Q     Now, to your knowledge with whom, if any, did Vasquez

  6    speak with before he started this train route?

  7    A     With his boss, Chapo Guzman.

  8    Q     How do you know that?

  9    A     Because Alfredo Vasquez told me.

 10    Q     What did he tell you about that conversation?Alfredo

 11    Vasquez

 12    A     Well, he told me that he had asked his compadre, Chapo

 13    Guzman, for permission to use that route.

 14    Q     And what was your understanding of why Vasquez asked the

 15    defendant's permission to open this route?

 16    A     Because he had come up with that means of transportation.

 17    He was the owner of that route.

 18    Q     And what did you understand that to mean that he was "the

 19    owner of the route"?

 20    A     Well, he came up with that route, with that means of

 21    transportation.

 22    Q     And who is "he"?

 23    A     Chapo Guzman.

 24    Q     Now, to your knowledge, did Vasquez speak with anyone

 25    else after the defendant?

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 41 of 152 PageID #: 9104
                                                                         2577
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Yes.

  2    Q     With whom?

  3    A     With Flaco Quirarte and with Alvarez Tostado.

  4    Q     And who is Alvarez Tostado?

  5    A     Alvarez Tostado is my compadre, a drug trafficker.

  6    Q     And during this time period with whom did he work?

  7    A     For the Juarez cartel.

  8    Q     And so showing you what is marked for identification as

  9    Government Exhibit 22.

 10                 Do you recognize this person?

 11    A     He looks like -- he look likes Alvarez Tostado, but I'm

 12    not sure.

 13    Q     Okay.    So what did Vasquez tell you about his

 14    conversation with Flaco Quirarte?

 15    A     Well, he told me that Chapo Guzman had already authorized

 16    him to use the train route.       And that he was ready to bring

 17    the drugs to Chicago.

 18    Q     And what was your understanding of why Vasquez spoke with

 19    Flaco Quirarte about this?

 20    A     Well, because Flaco Quirarte had an interest in the

 21    drugs.    And he was the person who worked for Amado Carrillo.

 22    Q     Now, who sent drugs to the United States via train that

 23    Vasquez ran?

 24    A     Amado Carrillo.     Mayo Zambada.    And Flaco Quirarte.

 25    Q     Now, the defendant was in jail at this time, right?

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 42 of 152 PageID #: 9105
                                                                         2578
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Yes.

  2    Q     And was the defendant represented in any way in these

  3    shipments?

  4    A     Yes.    Because of Mayo Zambada.

  5    Q     And how do you know that?

  6    A     Through Alfredo Vasquez.

  7    Q     And what does it mean Mayo represented the defendant in

  8    these shipments?

  9    A     Well, he was the one who managed the drugs that went to

 10    the United States.      He sold them in the United States.        And he

 11    would bring the money back to Mexico for Chapo Guzman.

 12                 MR. ROBOTTI:   I'd like to show you what's in

 13    evidence as Government Exhibit 216-32.

 14                 (Exhibit published.)

 15    Q     Do you recognize this?

 16    A     Yes.

 17    Q     And what's this?

 18    A     That's a tanker car that I used to use.

 19    Q     And was this type of tanker car also used in Vasquez's

 20    route?

 21    A     Yes.

 22    Q     To your knowledge, approximately how many shipments of

 23    cocaine did the cartel transport to the United States using

 24    the train route that Vasquez ran?

 25    A     Between eight to ten shipments or more.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 43 of 152 PageID #: 9106
                                                                         2579
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     About how much cocaine was in each shipment?

  2    A     Yes.   Between 1200, 1500 or 1800 kilos.

  3    Q     Where did all these shipments go?

  4    A     To Chicago.

  5    Q     About how much money was a kilogram of cocaine worth in

  6    Chicago at this time?

  7    A     Yes.   Between 15,000 to $20,000.

  8    Q     So about how much was each train shipment worth in

  9    Chicago?

 10    A     The cost was around $30 million.

 11    Q     Whose money is that?

 12    A     That money was Chapo Guzman's.       Mayo Zambada.     Amado

 13    Carrillo.    And Flaco Quirarte's.

 14    Q     What, if anything, did you get from the distribution in

 15    Chicago?

 16    A     Yes, they would give me about a hundred to 200 kilos for

 17    me to sell.

 18    Q     And where did you sell that?

 19    A     In Chicago.

 20    Q     About how much profit did you get from each shipment?

 21    A     Between 200 to $300,000.

 22    Q     Now at some point did Vasquez cease managing this train

 23    route?

 24    A     Yes.

 25    Q     And approximately when was that?

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 44 of 152 PageID #: 9107
                                                                         2580
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Yes, approximately towards the end of '98.

  2    Q     Why did he stop managing the train route?

  3    A     Because he felt that he was also being observed by the

  4    police.

  5                 (Exhibit published.)

  6    Q     Now, getting back to Government Exhibit 9, whom you

  7    identified as Amado Carrillo.

  8                 What, if anything, notable with respect to Amado

  9    Carrillo about this time?

 10    A     He died.

 11    Q     And how did you learn about that?

 12    A     Through Flaco Quirarte.

 13    Q     And about what year did this occur?

 14    A     Between '97 and '98.

 15    Q     And can you briefly tell us what Flaco Quirarte told you

 16    about the circumstances of Amado Carrillo's death?

 17    A     Yes.    Well, he told me, meaning Flaco Quirarte, he said

 18    that his compadre, Amado, had died.        That he was actually

 19    undergoing surgery to change his face.

 20    Q     And he died during surgery?

 21    A     Yes.

 22                 (Exhibit published.)

 23    Q     Now, I'd like to go back at Government Exhibit 83, who

 24    have you'd identified as Flaco Quirarte.

 25                 Following Amado Carrillo defendant what, if

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 45 of 152 PageID #: 9108
                                                                         2581
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    anything, unusual happened with respect to Flaco Quirarte?

  2    A     Yes.   He shot himself in the head.

  3    Q     And how do you know about this?

  4    A     I -- because -- well, I know that through Alvarez Tostado

  5    because I saw him, personally saw him.

  6    Q     You personally saw Flaco Quirarte?

  7    A     Yes.

  8    Q     And about when did Flaco Quirarte shoot himself?

  9    A     Yes, approximately between '98 -- yeah, around that time,

 10    '98, '99.

 11    Q     And can you briefly describe these events leading up to

 12    Flaco Quirarte shooting himself?

 13    A     Yes.   Sure.   He was drunk and he was high, and a patrol

 14    car detained him.     He didn't stop.     He fled instead.     He

 15    called Alvarez Tostado and he told him compadre, I'm going to

 16    let them catch me and then kill myself.

 17    Q     Now, did Flaco Quirarte survive this gunshot wound to the

 18    head?

 19    A     Yes.

 20    Q     And were there lasting effects on him?

 21    A     Yes.

 22    Q     And what were those lasting effects?

 23    A     He lost his memory.

 24    Q     Did he continue working with the cartel after that?

 25    A     No.    Not any more.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 46 of 152 PageID #: 9109
                                                                         2582
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     Now, after Vasquez stopped managing the train route, for

  2    how long did it stay closed?

  3    A     Approximately months or about a year.

  4    Q     And during what year was it closed?

  5    A     Approximately in the year of '99.

  6    Q     And at some point did it reopen?

  7    A     Yes.

  8    Q     And who was in charge of the route when it reopened?

  9    A     I was.

 10    Q     All right.    So before we get to the train route that you

 11    ran, I'd like to talk about the cartel, how the cartel changed

 12    after Amado Carrillo died and Flaco Quirarte was shot.

 13                 Now, earlier you stated that you were a member of

 14    both the Sinaloa and Juarez cartels; is that correct?

 15    A     That's correct.

 16    Q     And can you describe the relationship between the two

 17    cartels while you were a member in a little bit more detail?

 18    A     Yes.    They had a partnership in drug trafficking.

 19    Q     And what did it mean they had a partnership in drug

 20    trafficking?

 21    A     That they he trafficked drugs together and they brought

 22    the drugs to the United States.

 23    Q     And, in general, how did they help each other?

 24    A     Well, they helped each other in the sense that they would

 25    recommend to each other places that they controlled along the

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 47 of 152 PageID #: 9110
                                                                         2583
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    coast line in Mexico.

  2                 Also with of the transportation of the drugs to the

  3    United States.

  4                 They did share also the places they controlled along

  5    the borders.     The border with the United States.        And people.

  6    The government.     The Sicarios.     They also supported each other

  7    with the police, with the government.

  8    Q     And when you say sicarios helped you, what was the

  9    purpose of that?

 10    A     Well, the purpose of the sicarios was to protect the

 11    drugs, to make sure that no other cartel would steal them.

 12    And also from the police.

 13    Q     Now, what was the advantage to helping each other out in

 14    this way?

 15    A     To become -- well, to be the strongest cartel.          And to be

 16    on top of other cartels.       And to generate more money from the

 17    drug sale.     To corrupt politicians.     And to have more control

 18    over the different police agencies.        And to generate -- that's

 19    how they generated more money.

 20    Q     You mentioned earlier you called this joint organization

 21    "the cartel"; is that right?

 22    A     Yes.

 23    Q     Now during the time that Amado Carrillo was alive, did

 24    you develop an understanding of his area of control in Mexico?

 25    A     Yes.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 48 of 152 PageID #: 9111
                                                                         2584
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     And how did you learn about that?

  2    A     Through Flaco Quirarte.

  3                 (Exhibit published.)

  4    Q     Turning back to Government Exhibit 502, which is in

  5    evidence, where did Amado Carrillo control Mexico?

  6    A     Yes, here in Quintana Roo.       Guadalajara Jalisco.     Ciudad

  7    Juarez Chihuahua.

  8    Q     Was Ciudad Juarez important?

  9    A     Yes.

 10    Q     Why?

 11    A     Because it was on the border with El Paso, Texas, and it

 12    was a strategic point for the drugs to distribute to different

 13    parts of the United States.

 14                 MR. ROBOTTI:   I'd like to look at Government

 15    Exhibit 10, which is in evidence.

 16                 (Exhibit published.)

 17    Q     Do you recognize this person?

 18    A     Yes.

 19    Q     Who is that?

 20    A     Vicente Carrillo.

 21    Q     And who is Vicente Carrillo?

 22    A     Well, Vicente Carrillo is a drug trafficker.          He is Amado

 23    Carrillo's brother.

 24    Q     And what was Vicente Carrillo's role while Amado Carrillo

 25    was alive?

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 49 of 152 PageID #: 9112
                                                                         2585
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     He was the head of the Sicarios.

  2    Q     Where was he based?

  3    A     In Ciudad Juarez Chihuahua.

  4    Q     So after Amado dies and Flaco shoots himself, they are no

  5    longer part of the cartel, right?

  6    A     Exactly.

  7    Q     So who are the leaders of the cartel after that?

  8    A     Yes.    Chapo Guzman.    Mayo Zambada.    El Azul.    Vicente

  9    Carrillo.     Nacho Coronel.    And the Beltran Leyva brothers.

 10                 MR. ROBOTTI:   I'd like to walk through the hierarchy

 11    of the cartel on the board over there, but before we do that,

 12    let me show you a few pictures.

 13                 All right.   So looking at Government Exhibit 1A,

 14    it's in evidence.

 15                 (Exhibit published.)

 16    Q     Do you recognize this person?

 17    A     Yes.

 18    Q     Who is that?

 19    A     Chapo Guzman.

 20                 (Exhibit published.)

 21    Q     And looking at Government Exhibit 6, which is in

 22    evidence, do you recognize him?

 23    A     Yes.

 24    Q     Who is that?

 25    A     El Azul.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 50 of 152 PageID #: 9113
                                                                         2586
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     And do you know Azul's real name?

  2    A     Juan Jose Esparragoza.

  3                (Exhibit published.)

  4    Q     And looking at Government Exhibit 7 in evidence, who is

  5    that?

  6    A     Nacho Coronel.

  7    Q     And do you know Nacho Coronel's real name?

  8    A     Ignacio Coronel Villareal.

  9    Q     All right.    So let's talk about the heirarchy of the

 10    cartel after Amado's death.

 11                So looking first at Government Exhibit 1A, who you

 12    identified as the defendant, where would you place him in the

 13    hierarchy?

 14    A     Right on the top.

 15    Q     All right.    Looking next at Government Exhibit 2A, who

 16    you've identified as Mayo Zambada, where would you place him?

 17    A     Right under Chapo Guzman.

 18                (Continued on next page.)

 19

 20

 21

 22

 23

 24

 25

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 51 of 152 PageID #: 9114
                                                                         2587
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    BY MR. ROBOTTI (CONTINUED):

  2    Q     Okay.    So it would be about here?

  3    A     Yes.

  4    Q     Could you describe the relationship with Chapo Guzman?

  5    A     By "him," you're referring to Joaquin Guzman?

  6    Q     Yes.    Could you describe about where Chapo Guzman --

  7                 MR. PURPURA:   Objection.    Objection to the placement

  8    of the photograph at this point.        It's demonstratively --

  9                 THE COURT:   I got it.    I got it.    Let the witness

 10    testify first then we will...

 11    BY MR. ROBOTTI:

 12    Q     Could you describe a little more in detail where you

 13    would Chapo Guzman in this hierarchy?

 14    A     Yes.    Chapo Guzman right on the top, top.       And

 15    Mayo Zambada a little bit lower.

 16    Q     Okay.    Would you place him down here or --

 17    A     No, no, no.    No, no.    Where it was.

 18    Q     (Indicating.)

 19    A     Yes, that's correct.

 20    Q     All right.    And Government Exhibit 6, which you've

 21    identified as El Azul, where would you place him?

 22    A     Well, I would place him under Chapo Guzman and

 23    Mayo Zambada.

 24    Q     Okay.    So you're saying underneath, would it go on the

 25    same level or a level below?

                    David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 52 of 152 PageID #: 9115
                                                                         2588
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     No, one level below.

  2    Q     Now, looking at Government Exhibit 10, who you've

  3    identified as Vicente Carrillo, where would you place him?

  4    A     Under El Azul.

  5    Q     So the level below or --

  6    A     Yes, one level below El Azul.

  7    Q     And when you're -- next talking about Nacho Coronel.

  8    Government Exhibit 7, where would you place him?

  9    A     At the same level as Vicente Carrillo.

 10    Q     All right.    And you mentioned the Beltran-Levya brothers.

 11    What are their first names?

 12    A     Arturo Beltran and Hector Beltran.

 13    Q     And have you ever met Arturo and Hector Beltran?

 14    A     No.

 15    Q     And how are you familiar with their role in the cartel?

 16    A     Through El Conejo.

 17    Q     And who's Conejo?

 18    A     Conejo is a Colombian drug trafficker.

 19    Q     And what was his role with respect to the Sinaloa Cartel?

 20    A     He supplied them with drugs.

 21    Q     And did you work with Conejo?

 22    A     Yes.

 23    Q     And based on your conversations with Conejo, what is your

 24    understanding of where the Beltran-Leyva brothers fell within

 25    this hierarchy?

                    David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 53 of 152 PageID #: 9116
                                                                         2589
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     At the same level as Nacho Coronel and Mayo -- no, I'm

  2    sorry.    I meant Vicente Carrillo.

  3    Q     Okay.    So the same level as Vicente Carrillo and Nacho

  4    Coronel?

  5    A     Yes, same level.

  6    Q     And what was Azul's role within the organization?

  7    A     Well, he's a mediator.      When members of the cartel had a

  8    conflict among each other and when there were conflicts with

  9    other cartels, too.

 10    Q     So looking at this board here, is this an accurate

 11    representation of the hierarchy of the cartel following the

 12    death of Amado Carrillo and Flaco Carrillo?

 13    A     Yes.

 14    Q     All right.    So we'll discuss this more in a few minutes.

 15    But did you end up working for Vicente Carrillo?

 16    A     Yes.

 17    Q     And about when was that?

 18    A     Approximately in 1999.

 19    Q     And you previously testified that when Amado Carrillo was

 20    alive, Vicente Carrillo was the head of the sicarios; is that

 21    correct?

 22    A     Correct.

 23    Q     And after Amado's death, how if at all did Vicente

 24    Carrillo's role change?

 25    A     Well, yes, it changed temporarily.        He became the boss.

                    David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 54 of 152 PageID #: 9117
                                                                         2590
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     The boss, he became the boss in what way?

  2    A     In Ciudad Juarez.

  3    Q     And what was the relationship between Mayo and Vicente

  4    Carrillo?

  5    A     Good.    Mayo Zambada is Vicente Carrillo's godfather.

  6    Q     And what did they call each other?

  7    A     Well, Vicente Carrillo called Mayo Zambada godfather,

  8    Padrino.     And Mayo Zambada called Vicente Carrillo, Ahijado,

  9    godson.

 10    Q     And did Vicente Carrillo had other aliases?

 11    A     Yes.

 12    Q     And what's that?

 13    A     Viceroy.

 14    Q     And what is your understanding of the defendant's and

 15    Mayo Zambada's relationship at this point in time following

 16    Amado Carrillo death?

 17    A     Partners.

 18    Q     And how do you know that?

 19    A     Because Alfredo Vasquez told me and because Vicente

 20    Carrillo, too.

 21    Q     And following Amado's death and Flaco shooting himself,

 22    how has the relationship between the Juarez Cartel and Sinaloa

 23    Cartel change, if at all?

 24    A     Yes, it became one, only one.

 25    Q     One and only one what?

                    David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 55 of 152 PageID #: 9118
                                                                         2591
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Only one cartel.

  2    Q     And so was the relationship stronger or less strong?

  3    A     Stronger.

  4    Q     All right.    So looking back at Exhibit 502, and once the

  5    cartel took the form that we have up on the board there, what

  6    areas of Mexico did it control?

  7    A     Yes.    Quintana Roo, Chiapas, Oaxaca, Guerrerro,

  8    Mexico City, Guadalajara, Colima, Durango, Torreon,

  9    Ciudad Juarez, Chihuahua, Sonora.

 10    Q     And looking at the head-shot board that we have up there,

 11    where were all these leaders from?

 12    A     They're from Sinaloa, except for Nacho Coronel.

 13                 MR. ROBOTTI:   So, Judge, I'm about to turn to new

 14    topic.    I don't know if it would be a good time to break?

 15                 THE COURT:   Okay.

 16                 We will take our morning break, ladies and

 17    gentlemen.     Please remember not to talk about the case among

 18    yourselves.     See you at 11:25.

 19                 (Jury exits the courtroom.)

 20                 (The following matters occurred outside the presence

 21    of the jury.)

 22                 THE COURT:   Okay.   Fifteen minutes.

 23                 (Recess taken.)

 24                 THE COURTROOM DEPUTY:      All rise.

 25                 THE COURT:   Let's have the jury, please.

                    David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 56 of 152 PageID #: 9119
                                                                         2592
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1                 MR. BALAREZO:     Your Honor, briefly before they come

  2    in, we'd like to preserve the pictures again in a certain way.

  3    We're wondering if every time the Government uses the display

  4    if we could have a standing, that either they'll provide the

  5    image or we can --

  6                 THE COURT:   I'll have to address that later.

  7                 MR. BALAREZO:     Very well.

  8                 THE COURT:   If possible, yes.

  9                 MR. BALAREZO:     Thank you.

 10                 (Jury enters the courtroom.)

 11                 (Jury present.)

 12                 THE COURT:   Be seated please.     We'll continue.

 13                 MR. ROBOTTI:    Thank you, Judge.

 14    BY MR. ROBOTTI:

 15    Q     Mr. Martinez, so let's turn back to 1999, a couple year

 16    after Amado died.     So you mentioned the train route was closed

 17    during 1999, right?

 18    A     Yes.

 19    Q     And how, if at all, did you ship drugs during that year?

 20    A     Yes, by the cargo trucks.

 21    Q     And what is any significant event occurred that year?

 22    A     Yes.    In September 1999, there was 1,000 kilo seizure in

 23    El Paso, Texas.

 24    Q     And to whom did those drugs belong?

 25    A     Vicente and Mayo Zambada.

                    David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 57 of 152 PageID #: 9120
                                                                         2593
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     How do you know about the seizure?

  2    A     Probably because Sombrita told me.

  3    Q     And who is Sombrita?

  4    A     Well, Sombrita is a member of the Juarez Cartel, a drug

  5    trafficker.

  6    Q     And do you know his real name?

  7    A     Ruben.

  8    Q     Do you have his last name?

  9    A     No.

 10    Q     And for whom, if anyone, did he work directly during this

 11    time period?

 12    A     For Vicente Carrillo.

 13    Q     And where did he work?

 14    A     In the Ciudad Juarez, Chihuahua, Mexico.

 15    Q     Can you tell the jury how this seized shipment came

 16    about?

 17    A     Yes.    Well, Sombrita called me, and he asked me if I

 18    could bring 1,000 kilos from El Paso, Texas to Chicago.            I

 19    said, yes, but I was going to get organized.          There came a

 20    time and there the time that I got organized with my people.

 21    I told him I did not have a warehouse in El Paso, Texas, so he

 22    gave me one.     Well, Sombrita's people, they brought the drugs

 23    to that warehouse, and by the time that the shipment was going

 24    to out on to Chicago, I called my worker and he wasn't picking

 25    up.   And I told Sombrita I was worried because my worker

                    David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 58 of 152 PageID #: 9121
                                                                         2594
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    wasn't answering my calls.       And he told me that he was going

  2    to send one of his workers to the warehouse to check and see

  3    what was happening.      And about an hour or two hours later, he

  4    called me and he told me that the police had arrived to the

  5    warehouse.     And he told me that we had to meet in person.         He

  6    asked me if I knew what had happened, and I told him I did not

  7    know anything.     And he said, Well, I'm going to get in touch

  8    with my boss, Vicente?

  9    Q     Let me ask you a couple of questions before we get to

 10    that conversation.      So the method of transport to the

 11    warehouse in El Paso, what was that?

 12    A     Cargo trucks.

 13    Q     And what was the cover for this one?

 14    A     Shoes.

 15    Q     And where was the cocaine hidden?

 16    A     In between the box and the shoes of where covering it.

 17    Q     Now was anyone arrested, to your knowledge?

 18    A     Yes.

 19    Q     And who was that?

 20    A     My compadre, Rodrigo; his brother-in-law; and a guy with

 21    the nickname of Cano; and I think also the driver.

 22    Q     Now, you mentioned you had a conversation with Sombrita

 23    following this seizure.      What did Sombrita tell you?

 24    A     Yes.    He told me that he had to talk to his boss Vicente,

 25    and he put me in touch with Vicente Carrillo.

                    David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 59 of 152 PageID #: 9122
                                                                         2595
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     And what happened during this conversation with Vicente

  2    Carrillo?

  3    A     Well, we had talked.      He asked me what had happened and I

  4    told him I did not know.       And he told me, Don't worry.       Just

  5    get ready for the next one.

  6    Q     All right.    So I would like to turn to the train route

  7    that you ran.     During what year was this route in operation?

  8    A     Approximately from 2000 to 2003.

  9    Q     Now, just to be clear you testified about two earlier

 10    trade routes; is that right?

 11    A     That's right.

 12    Q     And both of those were run by the defendant?

 13    A     Yes.

 14    Q     And could you remind the jury which two routes they were?

 15    A     Yes, of course.     Well, the first one for Mexico was

 16    Guadalajara, Jalisco, Mexico to the border, to

 17    Baja California; actually Tecata, Baja California; Mexicali,

 18    rather.

 19                 And the second one was from Mexico City to Chicago.

 20                 (Continued on the next page.)

 21

 22

 23

 24

 25

                    David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 60 of 152 PageID #: 9123
                                                                         2596
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    BY MR. ROBOTTI::

  2    Q     The Guadalajara to Mexicali route was in operation during

  3    what time period?

  4    A     In the '80s.

  5    Q     The Mexico City to Chicago route, that was in operation

  6    during what time?

  7    A     Approximately '97, '98.

  8    Q     So the train route you ran operated later in time than

  9    both of those?

 10    A     Yes.

 11    Q     What were your responsibilities while running the train

 12    route from 2000 to 2003?

 13    A     My responsibility was to bring the drugs to the United

 14    States, and for me to distribute them to whoever I was

 15    instructed to distribute to.

 16    Q     Let's first start by talking about who else was involved

 17    in this train route.      Did you have any bosses while you were

 18    running the train route?

 19    A     Bosses.

 20    Q     Who were your bosses while running this route?

 21    A     Chapo Guzman, Mayo Zambada, and Vicente Carrillo.

 22    Q     To whom did you report directly?

 23    A     With Vicente Carrillo.

 24    Q     How did you end up reporting directly to Vincent

 25    Carrillo?

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 61 of 152 PageID #: 9124
                                                                         2597
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     By phone.

  2    Q     How did it come about that you started reporting directly

  3    to Vincent Carrillo?

  4    A     Because Vincent Carrillo himself told me that I needed to

  5    report back to him regarding all the drugs that I would

  6    transport to the United States.

  7    Q     I'd like to talk about the hierarchy, specifically with

  8    respect to this train route.       Before we do that, let me show

  9    you a couple of head shots which are in evidence.           Looking at

 10    Government's Exhibit 32, do you recognize this person?

 11    A     Yes.

 12    Q     Who is that?

 13    A     Juan Bugarin.

 14    Q     Looking at Government's Exhibit 57, do you recognize this

 15    person?

 16    A     Yes.

 17    Q     Who is that?

 18    A     Jose Gudino.

 19    Q     Did Jose Gudino use any aliases?

 20    A     Yes.

 21    Q     What were those?

 22    A     Manuel Silva.

 23    Q     Let's take a quick trip back to our leader board.           I'd

 24    like to talk about the hierarchy for the train route.

 25                 You mentioned that it was Vincent Carrillo, the

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 62 of 152 PageID #: 9125
                                                                         2598
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    defendant, and Mayo Zambada who were your bosses in this train

  2    route, right?

  3    A     Yes.

  4                 MR. BALAREZZO:    Your Honor.

  5                 THE COURT:   Sidebar.

  6                 (Continued on the next page.)

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 63 of 152 PageID #: 9126
                                                                         2599
                               SIDEBAR CONFERENCE

  1                THE COURT:    The problem is it's a dynamic

  2    demonstrative.     I have seen it used in many trials.        The

  3    Government always does it this way.        I don't have a problem

  4    taking a picture during the break.        Other than that, as we

  5    said before, note the position and draw your own chart and

  6    then you can reconstruct it.

  7                MR. PURPURA:    What I did, Judge, at the break as

  8    soon as we had a break, I spoke to Ms. Parlovecchio and

  9    suggested the Government, if she would take a picture for us,

 10    because we didn't want to have any cameras in the courtroom.

 11    I don't even have my cellphone here.         She said she would.     I

 12    assume she did.

 13                MS. PARLOVECCHIO:     I understood subsequent to that

 14    we weren't allowed to that without the Court's permission.

 15    But we can rebuild it and take a photo.

 16                THE COURT:    Are you capable of putting it back the

 17    way it was before you just assembled it?

 18                MR. ROBOTTI:    I can do that during the break.

 19                THE COURT:    I'm not crazy about the photo.       I don't

 20    know what is wrong with the suggestion doing it by hand,

 21    that's what all the defense lawyers in my cases have done.            I

 22    don't have a problem of taking a photo during the break,

 23    whether the Government or the defense, I don't care, as long

 24    as it's during a break.      Okay.

 25                (End of sidebar conference.)

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 64 of 152 PageID #: 9127
                                                                         2600
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1                 (In open court.)

  2    BY MR. ROBOTTI::

  3    Q     Where would you put Vincent Carrillo in this hierarchy?

  4    A     Yes, under Mayo Zambada.

  5    Q     That would be on the row below Mayo Zambada?

  6    A     Exactly.

  7    Q     Looking at Government's Exhibit 97B, which you identified

  8    as Alfredo Vasquez did, he have a role in the train route that

  9    you ran?

 10    A     Yes.

 11    Q     What was that role?

 12    A     He was the supervisor.      He wanted to make sure that I did

 13    things right.

 14    Q     Where would you place him in this hierarchy?

 15    A     Under Chapo Guzman.

 16    Q     Same row as Chapo or the row below?

 17    A     The same row where Chapo Guzman is, under it.

 18    Q     Would here be, correct?

 19    A     Yes, correct.

 20    Q     Looking at Government's Exhibit 74A, which is your

 21    photograph, where would you place yourself?

 22    A     Under and between both Vincent Carrillo and Alfredo

 23    Vasquez.

 24    Q     So right here?

 25    A     Exactly.

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 65 of 152 PageID #: 9128
                                                                         2601
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     Next we have Government's Exhibit 57, which you've

  2    identified as Jose Gudino Manuel Silva -- using the alias

  3    Manuel Silva -- did he have a role in your train route?

  4    A     Yes.

  5    Q     Who was that?

  6    A     He was a person in charge of getting me the warehouses,

  7    the houses, the apartments.       And he would established the

  8    companies here in the United States.

  9    Q     Where was he based while he was doing all that?

 10    A     Here in the United States.

 11    Q     Where would you place him in this hierarchy?

 12    A     Under my picture.

 13    Q     Could we put him here?

 14    A     Yes, yes.

 15    Q     Finally we have Government's Exhibit 32, who you've

 16    identified as Juan Bugarin, did he have a role in this train

 17    route?

 18    A     Yes.

 19    Q     What was his role?

 20    A     He opened the first company in Los Angeles, California.

 21    He managed that warehouse that I had in Los Angeles,

 22    California, and he was also in charge of purchasing the oil

 23    that we would bring to Mexico.

 24    Q     Where would we place him in this hierarchy?

 25    A     Under me.

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 66 of 152 PageID #: 9129
                                                                         2602
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     Is it okay if we place him here?

  2    A     Yes.

  3    Q     Aside from Juan Bugarin and Jose Gudino, did you have

  4    other workers in the United States?

  5    A     Yes.

  6    Q     Looking at this hierarchy here, is this an accurate

  7    depiction of the hierarchy of the train route that you ran?

  8    A     Yes.

  9    Q     What was Vincent Carrillo's role in these train

 10    shipments?

 11    A     The organizer to have the drugs brought to the United

 12    States.

 13    Q     What was Mayo Zambada's role?

 14    A     Provide drugs from Colombia to Mexico.

 15    Q     What was the defendant's role with respect to the train

 16    route?

 17    A     He came up with that method of transportation.

 18    Q     Did he have any other role?

 19    A     Yes, owner of the drugs.

 20    Q     How do you know that the defendant invented this train

 21    route?

 22    A     Well, first of all Alfredo Vasquez told me, and then

 23    Chapo Guzman himself told me.

 24    Q     We'll talk about that conversation in a minute with the

 25    defendant.

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 67 of 152 PageID #: 9130
                                                                         2603
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1                 Before we get there, what was the relationship

  2    between Mayo and the defendant while you were running this

  3    train route?

  4    A     They were drug partners.

  5    Q     How do you know that?

  6    A     Because Vincent Carrillo told me and Alfredo Vasquez told

  7    me.

  8    Q     What did you understand that partnership to mean for any

  9    particular shipment over this train route?

 10    A     Yes, to get the profits from the sale of the drugs in the

 11    United States.

 12    Q     What do you mean by that?

 13    A     Well, to be owner of the drugs.

 14    Q     Who was permitted to send drugs over this train route?

 15    A     No one other than the members of the cartel.          Only Mayo

 16    Zambada, Vincent Carrillo, me, Alfredo Vasquez, and of course

 17    Chapo Guzman.

 18    Q     Who decided who could send drugs over this train route?

 19    A     Chapo Guzman.

 20    Q     What, if anything, did you tell Vincent Carrillo about

 21    the security of this transportation route?

 22    A     Yes.    Vincent Carrillo told me not to worry because his

 23    godfather, Mayo Zambada, controlled the warehouse in Mexico

 24    City where my drugs were --

 25                 -- where the drugs were, interpreter correction.

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 68 of 152 PageID #: 9131
                                                                         2604
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     Did have you any conversations about the security of the

  2    transportation method?

  3    A     Yes.

  4    Q     What was that?

  5    A     Well, I had that conversation with Vincent Carrillo.           I

  6    told him that that method of transportation was very safe.

  7    That if a kilo of cocaine was lost along the shipment, I would

  8    pay him for it at Mexico cost.

  9    Q     What was that?

 10    A     Between seven and $8,000.

 11    Q     You mentioned that the defendant told that you he

 12    invented this train route, let's talk about that conversation.

 13    A     Yes, of course.

 14    Q     At some point did you learn that the defendant was no

 15    longer in jail?

 16    A     Yes.

 17    Q     About what year was that?

 18    A     Approximately the beginning of 2001.

 19    Q     How did you learn about that?

 20    A     Through Alfredo Vasquez.

 21    Q     What did he say to you?

 22    A     He was happy.     He said his Compadre Chapo had escaped

 23    from jail.

 24    Q     Following the defendant's escape from jail, did you meet

 25    with him?

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 69 of 152 PageID #: 9132
                                                                         2605
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Yes.

  2    Q     How many times?

  3    A     Twice.

  4    Q     In what year did the first meeting occur?

  5    A     2001, approximately mid-year.

  6    Q     By this point had you already been running the train

  7    route?

  8    A     Yes.

  9    Q     For how long?

 10    A     A little bit more than a year.

 11    Q     How did this meeting with the defendant come about?

 12    A     Yes, Alfredo Vasquez called me.        He told me he was going

 13    to introduce me to a very important person.          We agreed to meet

 14    the following day in Mexico city.        Well, we met at this place

 15    called Sanborns, it's a cafe.       We were already there and a man

 16    arrived, one of Chapo Guzman's workers.         They called him El

 17    Pelon.    We got into his vehicle.      We headed towards the exit

 18    towards, Toluca.

 19                 Before we exited the road, they switched cars on us

 20    and they put us into a cargo van.        They placed a hood on us.

 21    Q     When you say us, who did they place a hood on?

 22    A     Alfredo and me.

 23    Q     Who did that?

 24    A     Pelon.

 25    Q     What happened next?

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 70 of 152 PageID #: 9133
                                                                         2606
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     They drove us for approximately ten minutes.          We arrived

  2    at a location in the mountains.        They got us out of the van.

  3    It was a cabin.     We headed towards the second story.

  4    Q     Did you see other people there on the way in?

  5    A     Yes.

  6    Q     Who?

  7    A     Chapo Guzman's hit man.

  8                 THE COURT:   Hang on one second.

  9                 Ladies and gentlemen, there is a Judge on this

 10    court, an esteemed colleague, who has a practice when he's

 11    trying his case he puts his head back and closes his eyes.

 12    People think he's sleeping, but every time there is a

 13    objection he's right there and responds to the objection.

 14                 I'm not sure if any of you have that ability, but

 15    because I don't know I need you to keep your eyes open.            You

 16    don't have to be looking at the witness all the time, but I

 17    need to make sure you're in fact awake.         Stay with us here.

 18                 Thank you.   Please continue.

 19    BY MR. ROBOTTI::

 20    Q     What was the terrain of the house?

 21    A     It was mountainous, yes.

 22    Q     What happened when you got to the second floor with

 23    Alfredo Vasquez?

 24    A     Yes, Chapo Guzman was there with a woman, I don't know

 25    who she was.     As we were going up the stairs, she left.

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 71 of 152 PageID #: 9134
                                                                         2607
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1                 Chapo Guzman greeted Alfredo Vasquez he gave him a

  2    hug.    Alfredo Vasquez introduced me to Chapo Guzman, saying to

  3    him, Compadre, look, he's the one in charge of the train

  4    route.    And Chapo Guzman says back to him, Compadre did you

  5    already tell him that I was the inventor of that route?            And

  6    Alfredo Vasquez says back to him, yes, Compadre I already told

  7    him that you're the inventor of that route.

  8    Q      What happened next in this conversation?

  9    A      Chapo Guzman asked me how many tanker cars I had.

 10    Alfredo Vasquez jumps in to answer the question.           And he says,

 11    Compadre we have 30, 40, 60 cars.        Referring to the train

 12    cars.

 13    Q      Did you in fact have that many train cars at that time?

 14    A      No.

 15    Q      How many did you have?

 16    A      I had approximately six to eight tanker cars.

 17    Q      What is your understanding of why Vasquez exaggerated the

 18    number of tanker cars?

 19    A      Well, because my understanding is that either Chapo

 20    Guzman or Chapo Guzman's people had already told Alfredo

 21    Vasquez that they were going to be transporting a large

 22    quantity of drugs and he wanted him to be ready.

 23    Q      What was the defendant's reaction to Vasquez's statement

 24    that he had that many cars?

 25    A      He said, okay, Compadre, good.

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 72 of 152 PageID #: 9135
                                                                         2608
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     What happened next?

  2    A     Well, sorry -- the conversation ended.         We left.    We were

  3    put inside the same van.       No, no, I'm sorry, sorry.

  4                Yes, he said that I was going to hear from him soon,

  5    that I was going to be transporting drugs.          So okay we

  6    finished up the conversation.

  7                They took us back into the van.       They placed the

  8    hood on us again.     And they took it off along the way.         And

  9    they took us to where we had left our vehicle.

 10    Q     All right.    Let's talk about the total amount of drugs

 11    sent over this train route.       About how many shipments of drugs

 12    did the cartel send over this train route to the United

 13    States?

 14    A     Approximately 18 to 20 shipments or more.

 15    Q     To what cities?

 16    A     Los Angeles, California, Chicago, and New York.

 17    Q     About how many shipments went to New York?

 18    A     Approximately seven to eight shipments or more.

 19    Q     To Chicago?

 20    A     Nine or ten, approximately.

 21    Q     To Los Angeles?

 22    A     Three or four shipments.

 23    Q     What was the average amount of cocaine per shipment?

 24    A     On average of 1400 to 1700 kilos.

 25    Q     Was there a maximum amount of cocaine in the tanker cars?

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 73 of 152 PageID #: 9136
                                                                         2609
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Yes, approximately 2,000 kilos.

  2    Q     Why was there a maximum?

  3    A     Well, that maximum, well, that was enough drugs to bring

  4    into the United States.

  5    Q     What was the smallest shipment of cocaine?

  6    A     Yes, 200 kilos.

  7    Q     About what quantity of cocaine in total did the cartel

  8    ship to the United States using the train route that you ran?

  9    A     Somewhere between 30, 40, 50 tons.

 10    Q     During this time did you have an understanding of how

 11    many individual doses were in a gram of cocaine?

 12    A     Well, yes, the dependent on what each person used.

 13    Q     What was the range?

 14    A     A range of eight to ten times abusing it.

 15    Q     So would that be about 8,000 to 10,000 doses per kilo of

 16    cocaine?

 17    A     Yes.

 18    Q     About how much was 40 to 50 tons of cocaine worth?

 19    A     Approximately between 500 and $800 million.

 20    Q     Who's money was that?

 21    A     Chapo Guzman's, Mayo Zambada's, Vincent Carrillo's.

 22    Q     About what percentage of that cocaine came to New York

 23    City?

 24    A     Approximately 30 percent of it.

 25    Q     About how many tons are we talking about?

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 74 of 152 PageID #: 9137
                                                                         2610
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Somewhere between 15, 20 tons.

  2    Q     In general, how if at all did the train shipments change

  3    after the defendant got out of jail?

  4    A     Yes, the amount of drugs increased.

  5    Q     During what year did you send the most drugs to the

  6    United States?

  7    A     Yes, in 2002.

  8    Q     Let's talk about how you set up this train route back in

  9    1999, 2000.    Before you opened the route did you have a

 10    conversation with anyone about it?

 11    A     Yes.

 12    Q     With whom?

 13    A     With Alfredo Vasquez.

 14    Q     Will you tell the jury about this initial conversation

 15    with Vasquez about your train route?

 16    A     Yes, Alfredo Vasquez says to me, Mecanico, now it's your

 17    turn to manage this transport.

 18    Q     What was your reaction to Vasquez's offer to manage this

 19    transport?

 20    A     Happy, I was happy.

 21    Q     Why?

 22    A     Because I was going to make a lot of money.

 23    Q     What, if anything, did Vasquez give you at this time?

 24    A     He gave me a hundred thousand dollars for the expenses at

 25    the warehouses.

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 75 of 152 PageID #: 9138
                                                                         2611
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     After you got this $100,000 what did you do with it?

  2    A     Well, my task was then to establish companies in Mexico

  3    and to find warehouses.      And it was the same thing in Los

  4    Angeles, California.      I rented the tanker cars.      And I

  5    adopted, actually installed the spur, the train tracks, inside

  6    the warehouses.

  7    Q     We talked a minute ago about Juan Bugarin in Government's

  8    Exhibit 32, what was he doing for you during this time period.

  9    A     Yes, Juan Bugarin established the first company in Los

 10    Angeles and he rented the tanker cars.

 11    Q     Government's Exhibit 57, over on the board, you

 12    identified as Jose Gudino.       What was he doing while you were

 13    setting up the route?

 14    A     He rented the warehouses.

 15    Q     In what cities?

 16    A     In Los Angeles, California, Chicago, and New York.

 17    Q     You also mentioned that Jose Gudino used the alias Manuel

 18    Silva, how do you know that?

 19    A     Because I had gotten him a Mexican passport.

 20    Q     In what name?

 21    A     Under the name of Manuel Silva.

 22    Q     For what purpose did you obtain that passport?

 23    A     Yes, so that he would establish the companies and so that

 24    he would rent the warehouses under that name.

 25    Q     What type of companies are we talking about here?

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 76 of 152 PageID #: 9139
                                                                         2612
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Well, he established companies to purchase shoes, and to

  2    purchase the edible oil.

  3    Q     When you're saying edible oil, what type of oil are you

  4    talking about?

  5    A     It's an oil you can actually cook with and eat.

  6    Q     Now, what did these companies do with respect to the oil?

  7    A     Well, that oil that's also used for bread to make bread

  8    and also to can vegetables, for example the chili peppers,

  9    also for mayonnaise, ketchup and tuna.

 10    Q     From your perspective, what was the purpose of opening up

 11    these companies?

 12    A     Well, that was to cover the drugs that we would be

 13    bringing from Mexico to the United States.

 14    Q     How did these companies cover the drugs?

 15    A     Well, they seemed to be legal companies.

 16    Q     Do you recall some of the names for the companies used

 17    for the train route in the United States?

 18    A     Yes, some of them.

 19    Q     How did you learn those names?

 20    A     Through Jose Gudino.

 21    Q     What names do you recall?

 22    A     I remember Las Cuatro Reinas, Azteca Leather.

 23    Q     Where were the first warehouses located?

 24                Could I have the interpreter translate Cuatro

 25    Reinas?

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 77 of 152 PageID #: 9140
                                                                         2613
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1                 THE INTERPRETER:    The Four Queens.

  2    Q     Where were the first warehouses located in this route?

  3    A     In Pomona, California, then in Chicago, Juliette, at the

  4    outskirts of Chicago.

  5    Q     At some point did this route expand to another city?

  6    A     Yes.

  7    Q     So what city was that?

  8    A     It expanded to Chicago and New York.

  9    Q     After the route expanded to New York, did you continue

 10    sending shipments to Los Angeles?

 11    A     No, I stopped that temporarily.

 12    Q     Did you purchase any of the warehouses in any of the

 13    cities?

 14    A     Yes.

 15    Q     In which city?

 16    A     In Chicago.

 17    Q     About when did you send the first train shipments to the

 18    United States?

 19    A     Yes, approximately the beginning of 2000.

 20    Q     What, if anything, did you put in the first few tanker

 21    cars sent to the United States?

 22    A     No, no, the first ones I didn't put anything.          They were

 23    like a test.

 24    Q     What do you mean by that?

 25    A     Yes, well, it was for me to find out the time frames when

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 78 of 152 PageID #: 9141
                                                                         2614
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    it came to oil exportation.       And also for me to learn how

  2    Customs worked.

  3    Q     What do you mean Customs?

  4    A     The Mexican Customs office, because we would be bringing

  5    the oil into Mexico.

  6    Q     Let's talk a little about how the drugs were actually

  7    hidden.    Looking back at Government's Exhibit 216-32 in

  8    evidence, you mentioned before this is the type of tanker car

  9    you used, right?

 10    A     Yes.

 11    Q     Where within the tanker cars did you hide the drugs?

 12    A     Right at the ends, this right here.

 13    Q     Were they hidden?

 14    A     Yes.

 15    Q     How were they hidden?

 16    A     In a secret compartment, a double wall.

 17    Q     Who made these secret compartments?

 18    A     My workers and I.

 19    Q     Where did you make the secret compartments?

 20    A     Right at the warehouse in Mexico City.

 21    Q     In general how did the cocaine that you loaded into the

 22    tanker cars get to your warehouse in Mexico City?

 23    A     Well, at times in cargo trucks like tanker trucks.           And

 24    another part of it that I would transport in the train itself

 25    from the Cancun shoreline, to Merida, and from Merida to

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 79 of 152 PageID #: 9142
                                                                         2615
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Mexico City.

  2    Q     On average how much cocaine did you have at this

  3    warehouse at one time?

  4    A     You mean the top, like maximum?

  5    Q     Start with average.

  6    A     Yes, an average of 2,000 to 3,000 kilos.

  7    Q     What was the maximum?

  8    A     One time I had up to 17 tons.

  9    Q     Were you worried that these drugs would be seized by

 10    Mexican law enforcement?

 11    A     No.

 12    Q     Why not?

 13    A     Because Mayo Zambada had paid off the authorities.

 14    Q     How do you know that?

 15    A     Through Vincent Carrillo, he told me.

 16    Q     You mentioned that you leased tanker cars, ultimately how

 17    many tanker cars did you have at one time?

 18    A     Between ten to 12 tanker cars.

 19    Q     How did you get the tanker cars into the warehouse in

 20    Mexico City?

 21    A     Yes, there was this train company that was in charge of

 22    pulling the tanker cars.       They had a machine.     They would

 23    introduce it inside the warehouse.        And at times they would

 24    leave it right there at the door of the warehouse.           And we

 25    would then have to push it in order to put it inside the

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 80 of 152 PageID #: 9143
                                                                         2616
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    warehouse.

  2    Q     Now once these tanker cars arrived at the warehouse, how

  3    did you make the false walls?

  4    A     Yes, we built a metal ring and we would do it in

  5    different steps.     We would weld it from the inside of the

  6    tanker car right starting at the edges, later on we would cut

  7    sheets in the shape of an orange.

  8    Q     What do you mean by the shape of an orange?

  9    A     It was like the pieces of a puzzle, the pieces of a

 10    puzzle.    And we would then start welding these sheets like

 11    around that ring.     And then in between we would weld the metal

 12    bar to the tanker car.      There were bars rods that were

 13    crossing over, where you could actually cut the sheets that

 14    you were welding, and you were actually building as if it were

 15    a puzzle.

 16                (Continued on next page.)

 17

 18

 19

 20

 21

 22

 23

 24

 25

                          Rivka Teich CSR, RPR, RMR FCRR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 81 of 152 PageID #: 9144
                                                                         2617
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    DIRECT EXAMINATION (Continued)

  2    BY MR. ROBOTTI::

  3    Q     Okay.   And once you got it all welded into the car, what

  4    did you do next?

  5    A     We would introduce the drugs.       We would bring the drugs

  6    in.

  7                We would weld then the last two metal sheets that we

  8    had left behind.     We had left so that we would bring the

  9    container in and then weld them in.

 10                And then later on we used like a liquid seal, it was

 11    like a paste, a steel paste, and you would cover all around

 12    it.

 13                When that paste dried out, it would become like

 14    steel, very strong.      And once that liquid steel would dry

 15    completely, then we would finish off by painting it.           So that

 16    it would be identical to the other walls.

 17    Q     And did you put these walls in one or both ends of the

 18    container?

 19    A     Both ends.    Both ends.

 20    Q     Why did you put them at the ends of the tanker car?

 21    A     Well, because that's where Alfredo Vasquez told me to put

 22    them.   He said that it was easier to do so and to install the

 23    secret compartment there.

 24    Q     So how did you learn how to make the walls?

 25    A     Well one of Alfredo Vasquez's workers taught us.          That

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 82 of 152 PageID #: 9145
                                                                         2618
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    was Pascual that he had been working for him for a long time.

  2    Q     And so how did this route compare to -- or how did these

  3    compartments compare to the route that the Vasquez used

  4    earlier?

  5    A     Well, they were identical.

  6    Q     Now, you mentioned that you hid the drugs behind these

  7    walls.

  8                 Were they wrapped in any particular way?

  9    A     Yes.

 10    Q     How is that?

 11    A     They were inside a vacuum-sealed bag.          Then we would put

 12    some grease around him.      Like, you know, mechanic's grease.

 13    Then plastic.     And then finally tape.

 14    Q     What was the point of the grease?

 15    A     Well, it was just in case of the dogs, of the American

 16    authorities brought in the dogs.        So that they couldn't smell

 17    that.

 18    Q     Once a tanker car was loaded up with drugs, what did you

 19    do with it?

 20    A     Well, we would call the company that would pull them,

 21    that train company.      And they would take it to the train yard.

 22                 Once they had enough train cars, they had enough for

 23    the one trip, they would pull them all the way to the final

 24    destination.

 25    Q     Now, was there anything else in the tanker car when you

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 83 of 152 PageID #: 9146
                                                                         2619
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    sent it full of drugs?

  2    A      Yes.   I added a minimum amount of about two-inches of

  3    oil.

  4    Q      Why did you do that?

  5    A      Well, so that if Customs decided that they wanted to

  6    search it, that they would then be hindered from doing so

  7    because of the danger that the oil represented so that they

  8    wouldn't trip.

  9    Q      You mentioned you primarily sent cocaine over this route.

 10    What other drugs did you send?

 11    A      Marijuana.   Once.

 12    Q      And how much marijuana?

 13    A      Between a hundred and 200 kilos.

 14    Q      So who made the travel arrangements for these tanker cars

 15    going to the United States?

 16    A      Well, in Mexico it was me and one of my workers.

 17    Q      What was that worker's name?

 18    A      Leonardo Sanchez.

 19    Q      Now you mentioned that Alfredo Vasquez's trains crossed

 20    at Nuevo Laredo.     Where did yours cross the border?

 21    A      Right there at the same location, through Nuevo Laredo.

 22    Q      And what cartel controlled that area at the time?

 23    A      At that time it was the Gulf Cartel.

 24    Q      And did that matter to you?

 25    A      No.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 84 of 152 PageID #: 9147
                                                                         2620
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     Why not?

  2    A     Because the drugs were welded and we didn't need a

  3    warehouse right there at the border.

  4    Q     And so did you ask permission to go through that

  5    territory?

  6    A     No.

  7    Q     And did you know how the tanker cars were inspected at

  8    the border?

  9    A     No.   I don't know.

 10    Q     So let's talk about what happened when the drugs arrived

 11    in New York City.

 12                Now how did you distribute in New York from Mexico?

 13    A     I had my workers.

 14    Q     And how many workers did you have in New York at any

 15    given time?

 16    A     Approximately six workers.

 17    Q     And when the drugs arrived in New York, in the New York

 18    area, via train, in general, what happened next?

 19    A     Well, once they arrived to the warehouse we break up the

 20    secret compartment in order to get the drugs out.

 21    Q     And so it arrived at a warehouse in the New York area?

 22    A     No, New Jersey.

 23    Q     And how did the workers break down the wall?

 24    A     Yes, they broke them, they broke the wall with large

 25    sledgehammers.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 85 of 152 PageID #: 9148
                                                                         2621
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     And did you do anything to the tanker cars after the

  2    walls were broken down?

  3    A     Yes.    The tanker cars were cleaned with a sander.         You

  4    would eliminate the welding spots all over.          And then would

  5    you repaint it.

  6    Q     And then what did you do with the cars after that?

  7    A     Well, they were washed and then we added more oil into

  8    them.

  9    Q     And those would go back to the Mexico?

 10    A     To send them once again to Mexico.

 11    Q     All right.    So going back to New York, can you walk us

 12    through the distribution process here?

 13    A     Yes, of course.

 14                 Well, I had the warehouse where the train arrives,

 15    and I had a warehouse in New York where the drugs were

 16    distributed out of.

 17    Q     And so why did you have two different warehouses?

 18    A     Yes, because if a -- at any given time some of the people

 19    the drugs were being delivered to were being followed by the

 20    police, they wouldn't find out that the easily about the

 21    drugs -- the warehouse where the drugs arrived at.

 22    Q     And why didn't you want the police to discover the

 23    warehouse where the drugs arrived?

 24    A     Well, because then the transport would be done.          We

 25    wouldn't be able to transfer the drugs.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 86 of 152 PageID #: 9149
                                                                         2622
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     Now how did you transport the drugs between the warehouse

  2    where the train arrived and the warehouse from which you

  3    distributed them?

  4    A     Yes, I transported it in a smaller cargo truck, with a

  5    false wall at the end of the box, container box.

  6    Q     And so where were the drugs located within the car?

  7    A     At the end of the box.

  8    Q     Within the double wall?

  9    A     Yes.

 10    Q     And after transporting the drugs from the train warehouse

 11    to the distribution warehouse, what happened next?

 12    A     Well, after that, it was distributed to the people I was

 13    told to distribute it to.       With other workers.     Different

 14    workers.

 15    Q     And what types of vehicles did you use to distribute

 16    those drugs?

 17    A     I used cargo vans and pickup trucks.

 18    Q     How did you know to whom to distribute the drugs in New

 19    York City?

 20    A     Well, Vicente Carrillo would give me the phone numbers.

 21    Q     In general, at what types of locations did these vans go

 22    to -- vans and trucks go to to distribute the drugs?

 23    A     Well, yes, in general to restaurants, food places like

 24    McDonald's, Burger King.

 25    Q     And how did the exchange work at those places?

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 87 of 152 PageID #: 9150
                                                                         2623
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Yes.    We would call the people to whom we were going to

  2    deliver the drugs and give them an appointment at a certain

  3    restaurant.     Inside at a table.     We would tell them what the

  4    car contained the drugs and we would hand them over the keys.

  5    Q     How did this method of distribution into New York compare

  6    to the method in Chicago?

  7    A     Same.

  8    Q     Do you know the names of all the persons to whom your

  9    workers distributed drugs in Chicago and New York?

 10    A     No.    Not all.

 11    Q     Are you familiar with someone named Armando Corrales?

 12    A     Yes.

 13    Q     And who is that?

 14    A     Yes, he's a drug trafficker we gave drugs to.

 15    Q     And for whom did he work?

 16    A     For Vincente Carrillo.

 17    Q     And where did he work?

 18    A     In Chicago.

 19    Q     And how, if at all, was the drug distribution method

 20    different in LA?

 21    A     Yes, it was different in Los Angeles.          The drugs were

 22    taken to a house, to an apartment.        In a van.     Or an SUV.

 23    Q     From the warehouse to a house or apartments?

 24    A     Yes.    Yes, and from there, once it was at the house, it

 25    was delivered to the person I had been given instructions to

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 88 of 152 PageID #: 9151
                                                                         2624
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    deliver it to.

  2    Q     Now, were all the tanker cars you sent to the United

  3    States loaded with drugs?

  4    A     No, not all.

  5    Q     Why not?

  6    A     Well, because sometimes I didn't have any drugs to

  7    transport.

  8    Q     And so why did you send tanker cars without drugs to the

  9    United States?

 10    A     To make it seem like my company was a legal company,

 11    where the cars were going back and forth.

 12    Q     Who was in charge of sending the tanker cars without

 13    drugs from your warehouse in Mexico city?

 14    A     My worker, Leonardo Sanchez.

 15    Q     And how involved were you in those shipments that did not

 16    carry drugs?

 17    A     Not in those tanker cars, nothing.

 18    Q     Why weren't you involved in the tanker shipments without

 19    drugs?

 20    A     Because I didn't care about it.        I didn't have to worry

 21    about it.

 22    Q     Do you know exactly how many tanker car shipments without

 23    drugs went to the United States?

 24    A     No.   I don't know.

 25    Q     All right.    So let's talk a little bit about the money

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 89 of 152 PageID #: 9152
                                                                         2625
                   TIRSO MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

  1    that was made from these shipments.

  2                THE COURT:    Do you want to break for lunch,

  3    Mr. Robotti?

  4                MR. ROBOTTI:    Yes, it would be a great time.

  5                THE COURT:    Let's come back, ladies and gentlemen,

  6    at 1:35.

  7                Please don't talk about the case.        See you shortly.

  8                (Jury exits the courtroom.)

  9                THE COURT:    Mr. Robotti, what's your time?

 10                MR. ROBOTTI:    I think we'll be done this afternoon,

 11    Your Honor.

 12                THE COURT:    Do what you can to pick it up.

 13                I mean just by way of example, you're on the chart,

 14    you marked the front and rear end, and then you asked him, 20

 15    minutes later, what parts of the car did you use?

 16                I mean there's a value of repetition in some areas

 17    but I think there's a little too much -- a little more detail

 18    than the jury really needs.

 19                MR. ROBOTTI:    Your Honor, we don't have any -- I

 20    think this is actually -- it's actually moving faster, so I

 21    expect to be done this afternoon.

 22                THE COURT:    That's good and bad.

 23                See you all at 1:35.

 24

 25

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 90 of 152 PageID #: 9153
                                                                         2626
                                   PROCEEDINGS

  1                      A F T E R N O O N     S E S S I O N

  2                (Time noted:    1:50 p.m.)

  3                (In open court.)

  4                THE COURTROOM DEPUTY:      All rise.

  5                THE COURT:    Have a seat for just a minute.

  6                I received a letter, a handwritten letter signed by

  7    several reporters who say that there's a technical difficulty

  8    in the overflow courtroom and they cut out at about the 12:20

  9    this afternoon.     They want to know if it might be possible to

 10    the obtain a copy of the transcript.

 11                The answer is, yes.     Contact the court reporter and

 12    she'll sell you a copy of transcript on whatever basis you buy

 13    it at either hourly or daily copy.        That's open to the public.

 14                I don't know what more I can do about that.         We are,

 15    of course, taking effort to fix the courtroom, or the

 16    overflow, and hopefully that won't be a long delay.           But if

 17    anyone wants to buy the transcript, just talk to the court

 18    reporter, like any other member of public.

 19                All right let's continue.      Oh, the jury.

 20                (Pause.)

 21                (Jury enters the courtroom.)

 22                THE COURT:    All right, be seated, please.       Sorry for

 23    that short delay, ladies and gentlemen, we had some technical

 24    difficulties that we're working out.         We'll continue with

 25    direct examination by Mr. Robotti.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 91 of 152 PageID #: 9154
                                                                         2627
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1                 MR. ROBOTTI:   Thank you, Judge.

  2    DIRECT EXAMINATION (Continued)

  3    Q     So, Mr. Martinez, when we left off, you were talking

  4    about the money that you made from the trains, and

  5    specifically the money collected in the United States.

  6                 So did your workers collect money in the United

  7    States?

  8    A     Yes.

  9    Q     In what cities?

 10    A     In Chicago and New York.

 11    Q     And from whom would your workers pick up money in New

 12    York?

 13    A     It was from the sale of drugs.

 14    Q     And from whom would they pick up?

 15    A     Conejo, Vicente Carrillo.       And Camilla.

 16    Q     And so just more specifically, in New York when you

 17    workers picked up money, who were they picking up the money

 18    from in New York?

 19    A     Vicente Carrillo's workers.

 20    Q     And how were you paid for the drugs you transport over

 21    this route?

 22    A     In cash, I would say that the largest part or mostly was

 23    with the drugs.

 24    Q     And how much did you charge for train shipments as a

 25    transportation method?

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 92 of 152 PageID #: 9155
                                                                         2628
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     I charged $1,000 per-kilo.

  2    Q     And who was paying you?

  3    A     Vicente Carrillo's people would pay me.         Also Conejo.

  4    Conejo's people.     And Camilla's people.

  5    Q     Now, were you paid in the United States or in Mexico?

  6    A     At times in the United States.       And at times in Mexico.

  7    Q     And was some of the money your workers collected for your

  8    payment?

  9    A     Yes.

 10    Q     And when your workers collected money in New York, what

 11    would they do with it?

 12    A     Well, they would take it to their homes and later on I

 13    would invest in purchasing watches and diamonds.

 14    Q     And where were these diamonds and watches purchased?

 15    A     Here in New York.     In Manhattan.

 16    Q     And after those were purchased, what happened to them?

 17    A     Well, a person from Mexico would come and they would take

 18    them back to Mexico.

 19    Q     And did you also have workers transport cash?

 20    A     Yes.

 21    Q     And how was cash transported from the United States to

 22    Mexico?

 23    A     Well, we would transport it by cars in secret

 24    compartments.     Also on commercial planes inside appliances.

 25    Q     How much money's worth of jewelry did you transport back

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 93 of 152 PageID #: 9156
                                                                         2629
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    to Mexico from the United States between 2000 and 2003?

  2    A     Approximately a million or more than $1 million.

  3    Q     And about how much cash did you transport back to Mexico

  4    from the United States between 2000 and 2003?

  5    A     Approximately from 6 to 8 million.

  6    Q     Now, overall, how much profit did you make from running

  7    this train route before counting for expenses?

  8    A     Yes, I got approximately from 25 to 30 million, or even

  9    more.

 10    Q     And aside from running this train route, were you also

 11    engaged in other drug trafficking between 2000 and 2003?

 12    A     Yes.

 13    Q     And just in general, what type of drug trafficking

 14    activity?

 15    A     I would bring cocaine, transport it from Colombia to

 16    Mexico.

 17    Q     And how much money did you make doing that before

 18    expenses?

 19    A     Between 15 and $20 million.

 20    Q     So would it be fair to say that before expenses you made

 21    between 45 and $50 million between 2000 and 2003?

 22    A     Yes, approximately.

 23    Q     And about how much profit did you make after expenses and

 24    losses?

 25    A     Between 15 to 20 to $25 million.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 94 of 152 PageID #: 9157
                                                                         2630
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     And how did the money that you made compare to the money

  2    that your bosses made, Vicente Carrillo, Mayo Zambada and the

  3    defendant?

  4                 MR. PURPURA:   Objection.

  5                 THE COURT:   Sustained.

  6    Q     Are you aware of how much money your bosses were making

  7    from these train routes?

  8    A     Yes.

  9                 MR. PURPURA:   Objection.    The basis?

 10                 THE COURT:   He can answer the question yes or no.

 11    A     Yes.

 12    Q     How do you know that?

 13    A     Well, because of Vicente Carrillo, he would tell me.

 14    Q     And how much money were your bosses making as compared to

 15    what you made?

 16                 MR. PURPURA:   Objection.

 17                 THE COURT:   Overruled.

 18    A     Could you repeat the question again, please.

 19    Q     Sure.

 20                 How much money were you making as compared to the

 21    amount of money your bosses made?

 22    A     Well, I was making 10 to 15 percent of what they were

 23    making.

 24    Q     How did you spend your money?

 25    A     Well, I spent it on property.       Houses.    Horses.   Cock

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 95 of 152 PageID #: 9158
                                                                         2631
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    fights.    Gambling.    Soccer teams.    Vehicles.    Cars.

  2    Q     And did you lose money gambling on cock fights?

  3    A     Yes.

  4    Q     And approximately how much?

  5    A     I couldn't tell you exactly, but it was a lot of money.

  6    Q     Is it fair to say millions of dollars?

  7                 MR. PURPURA:   Objection.

  8                 THE COURT:   Sustained.

  9    Q     Can you give us an approximation of how much money?

 10    A     Yes, between 2 to $3 million.

 11    Q     Now, you testified earlier in the day that after your

 12    first meeting with the defendant, you met him a second time;

 13    is that right?

 14    A     That's right.

 15    Q     And about how long after this first meeting was the

 16    second meeting?

 17    A     Two months later, two to three months later.

 18    Q     So what year are we in?

 19    A     Approximately towards the end of 2001 and the beginning

 20    of 2002.

 21    Q     Where was this meeting?

 22    A     In the State of Mexico.      A place that's called

 23    La Marquesa.     Right at the exit when you go towards the city

 24    of Chalukya in Mexico.

 25    Q     And how did this meeting come about?

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 96 of 152 PageID #: 9159
                                                                         2632
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    A     Well, a friend of Vasquez called me and he told me that

  2    we're going to go see his compadre.        And I said, yes, and then

  3    we made an appointment for the following day so that we can go

  4    meet up with him.

  5                One of Chapo Guzman's workers picked us up close to

  6    Santa Fe Plaza.     We got in his car.     And we took on the

  7    highway and we headed towards the exit towards Chalukya.

  8                And a few kilometers later, we got out of the

  9    highway.    And we took a dirt road towards the mountain.

 10                We got there and about 10, 15, 20 minutes later

 11    Chapo Guzman arrived.

 12    Q     So what happened at that meeting?

 13    A     Well, what happened was, we greeted each other.          And he

 14    told me that he had 200 kilos of cocaine for me to take to Los

 15    Angeles.    And he wanted to check which route would be the

 16    fastest.    He had an alternate route or he wanted to compare it

 17    to the train route.

 18                I said, yes.    And then he asked me how much I was

 19    going to charge him.      And Alfredo Vasquez -- actually, I said

 20    nothing, and a friend of Vasquez answered him, he said,

 21    Compadre, we'll look into that later.

 22    Q     And why did you say you wouldn't charge the defendant?

 23    A     Well, I mean I was dealing with Chapo Guzman and I really

 24    wanted to work with him with larger quantities.

 25                I knew I was going to make a lot more money compared

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 97 of 152 PageID #: 9160
                                                                         2633
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    to just conducting or charging those $2,000 -- $200,000,

  2    interpreter correction.

  3    Q     Now, who else was present at this meeting?

  4    A     Well, it was Alfredo Vasquez, and then the person --

  5    well, Chapo Guzman's worker who brought us there, he was in

  6    the distance.     And there were other people that also, like at

  7    a certain distance, and they were protecting him.

  8    Q     And was anyone armed?

  9    A     Yes.

 10    Q     How many people were armed?

 11    A     Between 10 to 12 people.

 12    Q     And how did they arrive at that meeting?

 13    A     In SUVs.

 14    Q     And what did the defendant arrive on?

 15    A     On an ATV.

 16    Q     Did you have a conversation with Vasquez immediately

 17    following this meeting?

 18    A     Yes.

 19    Q     Can you tell us about that?

 20    A     Yes.   Alfredo Vasquez told me to put some energy into it

 21    because with his compadre, Chapo Guzman, we were going to be

 22    making a lot of money.

 23    Q     And who were you supposed to coordinate this 200-kilogram

 24    shipment to Los Angeles with?

 25    A     With Alfredo Vasquez.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 98 of 152 PageID #: 9161
                                                                         2634
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    Q     And how do you know that?

  2    A     Well, because Chapo Guzman told me that from that day on

  3    I was going to be doing everything with Alfredo Vasquez.

  4    Q     Now, how did you react to the defendant's statement they

  5    should coordinate this through Vasquez?

  6    A     Well, yes, I was scared.      I was in between a rock and a

  7    hard place.

  8    Q     Why?

  9    A     Because I used to coordinate everything with Vicente

 10    Carrillo.

 11    Q     Now, after you left this meeting with the defendant, did

 12    you ultimately transport those 200 kilos of cocaine?

 13    A     Yes.

 14    Q     And when was that?

 15    A     A few days later, about two, three days later after

 16    Alfredo Vasquez delivered them to me.

 17    Q     And what did you do with them?

 18    A     Well, at the time I wasn't doing transporting to Los

 19    Angeles, so I started making sure that we would put them

 20    inside the secret compartment in a tanker car and we would

 21    then send them to Los Angeles.

 22    Q     And were these drugs ultimately sent to Los Angeles by

 23    train route?

 24    A     Yes.

 25    Q     Now, did you have a conversation with Vicente Carrillo

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 99 of 152 PageID #: 9162
                                                                         2635
                          SANCHEZ - DIRECT - MR. ROBOTTI

  1    following that shipment?

  2    A     Yes.

  3    Q     Can you tell us about that?

  4    A     Yes.   I told Vicente Carrillo that I had had a meeting

  5    with Chapo Guzman.      He got really angry.     He said, well, he's

  6    an asshole, he wants to skip over me.         And he told me not to

  7    go to any meeting without his prior authorization.

  8    Q     And what did he say would happen going forward?

  9    A     You mean what -- did he what Vincente say?

 10    Q     What did Vincente say would happen going forward?

 11    A     Well, that I shouldn't go any meetings and that

 12    everything was going to be done through him, because he wanted

 13    to take him out of the game.

 14    Q     So what did you understand that statement to mean that he

 15    wanted to skip over Vincente?

 16    A     Well, I understood that he did not want to give him any

 17    interest on the drugs that were going to be transported to the

 18    United States.

 19    Q     When you say "he" there, who were you referring to?

 20    A     Chapo Guzman.

 21    Q     And what would be the advantage of skipping over Vicente

 22    Carrillo in this train route?

 23    A     To have more profit.      To make more money.

 24    Q     By what name did Vicente Carrillo refer to the defendant

 25    during this conversation?

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 100 of 152 PageID #:
                                    9163                               2636
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    A     Yes, El Patas Cortas.

2    Q     And can you describe what "Patas Cortas" means?

3    A     Persons or people like us who are short in height.           We

4    have shorter legs.

5    Q     And was that alias that Vincente used regularly for the

6    defendant when you spoke to him?

7    A     Yes.   Him and I, we both used it.

8    Q     And how else did Vincente refer to the defendant when you

9    spoke to him?

10   A     As Chapo.    And compadre of my godfather.       Referring to

11   the his godfather, Mayo Zambada.

12   Q     Now, you mentioned that at the time of this 200 kilogram

13   shipment you weren't regularly sending drugs to Los Angeles.

14   A     Exactly.

15   Q     And what cities were you focusing on at that time?

16   A     Chicago, New York.

17   Q     And did you continue to send shipments to LA after this

18   200-kilogram shipment from the defendant?

19   A     I think I didn't any more.

20   Q     Now, were the defendant's 200 kilograms of cocaine marked

21   in any way?

22   A     Yes.   The cocaine was printed with a sign of three 8s.

23   Q     And did you ever see that triple eight brand again?

24   A     Yes, a little while later.

25   Q     And when did you see that?

                       LINDA D. DANELCZYK, RPR, CSR, CCR
                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 101 of 152 PageID #:
                                    9164                               2637
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    A     On an occasion when Alfredo Vasquez had delivered

2    3600 kilos to me.

3    Q     How did that shipment arrive?

4    A     Yes, well, Alfredo Vasquez called me and told me that we

5    had to take 3600 kilos to Chicago.        And he told it belonged

6    to -- well, first he told me it belonged to Los Gueritos.            And

7    then he said it belonged to Nacho Coronel.

8    Q     And who is Los Gueritos?

9    A     Well, yes, the Gueritos are some drug traffickers that

10   are friends of mine.

11   Q     And did you have a conversation with Vasquez about

12   telling Vincente about the shipment?

13   A     Yes.   Yes.   I told Alfredo Vasquez that I had to ask

14   Vicente Carrillo for his authorization.         And he answered

15   Alfredo Vasquez, Well, fuck, the transport is ours, referring

16   to Chapo Guzman and him.

17   Q     And did you ultimately transport the shipment of

18   3600 kilograms?

19   A     Yes.   I transported 3200 kilos.       And 400 of those kilos

20   were our payment.

21   Q     The payment for you?

22   A     Alfredo and my payment, yes.

23   Q     And those drugs ultimately went to the Chicago?

24   A     Yes.

25   Q     Did you tell Vicente Carrillo about this shipment?

                      LINDA D. DANELCZYK, RPR, CSR, CCR
                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 102 of 152 PageID #:
                                    9165                               2638
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    A     No, I didn't tell him.

2    Q     Now, aside from this shipment, did you send any other

3    shipments over the train route without first telling Vicente

4    Carrillo?

5    A     Yes.

6    Q     And what shipments were those?

7    A     It was for La Camilla on two, three, four occasions.

8    Q     And who is La Camilla?

9    A     La Camilla is a Colombian.        He's a drug trafficker.

10   Q     And why did you send La Camilla's drugs without telling

11   Vicente Carrillo?

12   A     Because I wanted to make some extra money.

13   Q     Now, did you ever see any other brands while running this

14   train route aside from the triple eight?

15   A     Well, yes, several.

16   Q     And do you recall all the brands?

17   A     No.    No.   Not really all of them.

18   Q     And how, if at all, did the brands change over time?

19   A     They were different.

20   Q     Now, we'll just go over a few train shipments you did

21   without telling Vicente Carrillo, all right?

22   A     Correct.

23   Q     And with whom did you coordinate the vast majority of

24   your train shipments?

25   A     Yes, with Vicente Carrillo.

                        LINDA D. DANELCZYK, RPR, CSR, CCR
                              Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 103 of 152 PageID #:
                                    9166                               2639
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    Q     And did Vicente Carrillo, in fact, coordinate train

2    shipments on behalf of the defendant?

3    A     Yes.

4    Q     How do you know that?

5    A     Well, because said that Vicente Carrillo would tell me

6    about it.     On two occasions, he told me specifically to mark a

7    certain amount of kilos in a certain color.          For Patas Cortas,

8    referring to Chapo Guzman.

9    Q     And for whom else, if anyone, did Vincente Carrillo

10   coordinate shipments?

11   A     Yes, for Mayo Zambada.

12   Q     Now, you mentioned that you marked kilograms in different

13   colors.    What did you mean by that?

14   A     Yes, Vicente Carrillo would tell me -- well, he would ask

15   me what color tape I had at the time.         Well, given the colors

16   that I had at the time, be it blue, yellow, white, red.            And

17   then he would tell me the amount that he was going to mark in

18   a certain color.

19                And he said to me mark these for Patas Cortas, this

20   amount.    Use this color to mark them for my godfather,

21   referring to Mayo Zambada.       And mark the rest with a different

22   color.

23   Q     Now aside from Vicente Carrillo, who else, if anyone, did

24   you coordinate train routes with?

25   A     Yes, with Rodolfo Carrillo, Vicente's brother.

                      LINDA D. DANELCZYK, RPR, CSR, CCR
                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 104 of 152 PageID #:
                                    9167                               2640
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    Q     And when were those shipments?

2    A     Approximately the last few months of 2002.

3    Q     And about how many shipments did you do for Rodolfo?

4    A     One or two.

5    Q     And why did you coordinate those loads with him instead

6    of Vincente?

7    A     Because Vincente was on vacation.

8    Q     All right.    Now you identified Government Exhibit 2A,

9    which is on our photo board up there, as Mayo Zambada.

10   A     Yes.

11   Q     Have you ever met Mayo Zambada?

12   A     Yes.

13   Q     How many times?

14   A     On two occasions.

15   Q     When was the first meeting?

16   A     The first meeting was in the first few months of 2001.

17   Approximately.

18   Q     Where was that?

19   A     In Torreon Coahuila, Mexico.

20   Q     How did this meeting come about?

21   A     Well, Alvarez Tostado, my compadre, called me and told me

22   that Vicente Carrillo wanted to see us.         I said, yes.    We

23   agreed to do it and we agreed to go out the next day.

24                And we arrived at a certain location that they had

25   told us to go to.     One of Vicente Carrillo's workers came to

                      LINDA D. DANELCZYK, RPR, CSR, CCR
                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 105 of 152 PageID #:
                                    9168                               2641
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    pick us up.     And took us to a house.      That was set up as an

2    office on the second story.

3                 They brought us up.    Vicente Carrillo received us.

4    At the end on one side was Mayo Zambada.         Sitting at a desk

5    like this.     We greeted Vincente.     And first he asked me -- he

6    asked me when I was going to have New York ready.

7    Q     Who asked you that?

8    A     Vincente asked me.

9    Q     And what happened next?

10   A     I said soon, that I was working on it.         Vicente said to

11   Mayo, What do you think, godfather?        Mayo Zambada answered,

12   Okay.   He moved his head, nodded his head and said, Okay.

13   Q     When Vincente asked you whether you had New York ready,

14   what did you understand that to mean?

15   A     Well, he was asking me if I had a warehouse ready,

16   because he had previously told me that I had to have New York

17   ready in order to be able to -- well, take drugs to New York.

18   Q     Via train?

19   A     Yes.

20   Q     Now, what was discussed during the rest of this meeting?

21   A     Well, I've Alvarez Tostado, my compadre, continued the

22   chat.   They asked him if he knew what had happened with that

23   merchandise that had been lost.        Vincente asked.

24   Q     And were you involved in that shipment between Tostado

25   and Mayo that they were talking about?

                      LINDA D. DANELCZYK, RPR, CSR, CCR
                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 106 of 152 PageID #:
                                    9169                               2642
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    A     No.

2    Q     Did you know the details of that?

3    A     No.

4    Q     Now, at some point after this meeting, did Mayo Zambada

5    inquire again about the route to New York?

6    A     After that meeting.

7    Q     Okay.   And tell us about that.

8    A     Well, he asked me, Well, Vicente Carrillo says, Look my

9    godfather is asking when the fuck you are going to have New

10   York ready.    He referring to the warehouse with the train spur

11   with the rails going in.

12

13               (Continued on next page.)

14

15

16

17

18

19

20

21

22

23

24

25

                      LINDA D. DANELCZYK, RPR, CSR, CCR
                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 107 of 152 PageID #:
                                    9170                               2643
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    BY MR. ROBOTTI (CONTINUED):

2    Q     About when was that?

3    A     I don't know, a month or so before -- or a little bit

4    less than a month after the meeting.

5    Q     Now, at some point did you meet with Mayo Zambada again?

6    A     Yes.

7    Q     When was that?

8    A     A month later, four or five months later, approximately.

9    Q     Okay.    And how did that meeting come about?

10   A     Yes, Vicente Carrillo called me and he said I had to meet

11   with his godfather to clear something up.

12   Q     And what happened next?

13   A     Vicente Carrillo coordinated the location of the meeting

14   for me.    He asked me what I would be wearing.        I told him what

15   I was going to be wearing and that I was going to be wearing a

16   cap, and that I was at a public phone, phone booth in Mexico

17   City.

18   Q     And what happened next?

19   A     Well, a few minutes later Rey Zambada arrived with

20   Papi --

21                THE INTERPRETER:    Oh, I'm sorry.     Interpreter

22   correction, Patty.

23   BY MR. ROBOTTI:

24   Q     Okay.    And who is Patty?

25   A     Patty is Rey Zambada's wife.

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 108 of 152 PageID #:
                                    9171                               2644
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    Q     And what happened next?

2    A     He asked if I was Mecanico, and I said, yes.          He told me

3    to get in.    He drove for a few miles, I don't know, two or

4    three miles.     We were almost at the house and he called by

5    radio.    He said, We'll be there soon.

6                When we arrived, the garage was already open.          We

7    went in and there was a lot of people who were armed.

8    Q     And what happened during the course of this meeting?

9    A     Well, the meeting was to clear up an issue having to do

10   with some merchandise that I had supposedly had changed from

11   good merchandise to bad merchandise in reference to 311 kilos

12   of cocaine.

13   Q     So did Rey and Patty Zambada stay for this meeting?

14   A     No.   Patty stayed in the vehicle.       Rey Zambada brought me

15   into the house and he told his brother, Mayo, he says, He's

16   here, like delivering him -- me to him.

17   Q     And what happened next?

18   A     Mayo Zambada began to insult me immediately.          He asked me

19   why I switched his merchandise on him.         I told him I didn't

20   know what he was talking about.        He said, Don't act like

21   you're fucking stupid.      You gave me 300 -- you gave me

22   311 kilos that are no good.       I reiterated once again, no, that

23   I hadn't done that.      He asked me, So what are we going to do?

24   And I told him to give me the opportunity to change them over

25   again in the next trip, that I would provide them from my own

                 David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 109 of 152 PageID #:
                                    9172                               2645
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    cocaine.

2    Q     Okay.    And this original shipment that you were accused

3    of changing out, where had that gone to?

4    A     New York.

5    Q     What happened next?

6    A     Well, he had a gun in his waistband and he pointed it at

7    me in this location, my face, my head (indicating).           And he

8    said, I'm not going to kill you because my godson told me not

9    to do anything to you.

10   Q     And who did you understand him to be referring to?

11   A     Vicente Carrillo.

12   Q     All right.    So what happened next?

13   A     Well, after that I left.      Rey and Patty took me back to

14   where they had picked me up.       I called Vicente to let him know

15   what had happened, and he thought this was funny.           He said

16   that my godfather, he's an asshole.

17   Q     Had you, in fact, taken those 311 kilograms and changed

18   them out?

19   A     No.

20   Q     Did you end up replacing them anyway in a subsequent

21   shipment?

22   A     Yes.

23   Q     And where was that subsequent shipment to?

24   A     To New York.

25   Q     Okay.    And by the way, when is the last time you recall

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 110 of 152 PageID #:
                                    9173                               2646
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    seeing Rey Zambada?

2    A     I only saw him that time.

3    Q     Now, at some point did that train route that you ran end?

4    A     Yes.

5    Q     Why?

6    A     Because there were three seizures.

7    Q     And where were each of these seizures?

8    A     Well, the first one was in New York, in Brooklyn.          The

9    second one was in Chicago.       And the third one was in New York,

10   in Queens.

11   Q     And was it after the third seizure that you closed the

12   route?

13   A     Yes.

14   Q     All right.    So we'll talk about those three seizures in a

15   couple of minutes.

16                I wanted to ask you, at the time of this final

17   seizure, where were you living?

18   A     I lived in Mexico City.

19   Q     And following the final seizure, did you stay in

20   Mexico City or did you leave?

21   A     I stayed for about two or three months and then I left.

22   Q     And why did you leave?

23   A     Because they wanted to kill me because they had lost the

24   train route, that means of transportation.

25   Q     Now, after you left Mexico City did you ever speak

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 111 of 152 PageID #:
                                    9174                               2647
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    directly to Vicente Carrillo again?

2    A     No, not anymore.

3    Q     Did you ever receive a message from him indirectly?

4    A     Yes, two.

5    Q     And from who?

6    A     Well, the first one came with my compadre, Alvarez

7    Tostado.     And the second one came from Efren, and he was Amado

8    Carrillo's brother-in-law.

9    Q     All right.    So what message did Alvarez Tostado pass to

10   you from Vicente?

11   A     He told me to call him because I owed him some money.

12   Q     So who told you to call who?

13   A     Alvarez Tostado told me to call Vicente because I owed

14   him money.

15   Q     And what was your reaction to that?

16   A     I knew that that was a lie.       I knew that what he wanted

17   was for me to call him.

18   Q     Now, at some point did Alvarez Tostado update you about

19   the relationship between the defendant and Vicente Carrillo?

20   A     Yes.

21   Q     And what did he tell you?

22   A     He told me that they were at war; that they were killing

23   each other, that the two of them were.

24   Q     And what, if anything, did he say about the relationship

25   between Mayo and Vicente Carrillo?

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 112 of 152 PageID #:
                                    9175                               2648
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    A     Yes.    He told me that El Corajudo, referring to Mayo

2    Zambada, had turned his back on Vicente Carrillo; that he had

3    betrayed him.

4    Q     What did you understand that to mean?

5    A     Well, that he had left from Chapo Guzman's side.

6    Q     So who had left who?

7    A     That Mayo Zambada had actually taken a distance from

8    Vicente Carrillo, and that he -- that he had switched over to

9    Chapo's side completely.

10   Q     Now, what was the other message you received from Vicente

11   Carrillo?

12   A     Well, Efren asked me who I was taking part or sides with

13   between the war between Vicente Carrillo and Chapo Guzman.            I

14   told Efren that I wasn't taking any sides because I was a calm

15   person.     And that if he were really my friend, he wouldn't

16   tell Vicente Carrillo that he had seen me.

17   Q     Now, have you ever directly participated in violence?

18   A     No.

19   Q     Have you ever indirectly participated in violence?

20   A     Yes.

21   Q     How so?

22   A     Well, I have participated -- one of my partners, he

23   killed Toronbolo.     Toronbolo had stolen some money from him in

24   Los Angeles, California and had between 500 and a million

25   dollars from the sale of drugs.        And at one point in time, I

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 113 of 152 PageID #:
                                    9176                               2649
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    found out that Toronbolo had come back to Guadalajara, and I

2    then told La Calabaza, my partner, that Toronbolo was already

3    in Guadalajara, and he told me that he was going to kill him.

4    I didn't believe him.      I thought that he just wanted to get to

5    him so that he could recover his money, but no, he killed him.

6

7    Q     Okay.    And so you provided the location of Toronbolo?

8    A     Yes.

9    Q     And what was your understanding of what would happen to

10   Toronbolo when you provided that location?

11   A     Well, I just thought that he was going to get him in a

12   tough spot where he would be able to get the money out of him.

13   Q     And --

14   A     I didn't think that he was going to have him killed.

15   Q     Now, just going back for a moment to the war between the

16   defendant and Vicente Carrillo.        What is your understanding of

17   who Mayo Zambada was aligned with during that war?

18   A     With Chapo Guzman.

19   Q     Now, did anything similar to what happened to Toronbolo

20   happen again?

21   A     Yes.

22   Q     And could you tell us about that?

23   A     Sure.    Santos, my brother-in-law who was married to my

24   sister, he worked for a person whom they called El Cuate.            He

25   built secret compartments in vehicles and SUVs, and he also

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 114 of 152 PageID #:
                                    9177                               2650
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    sold drugs in Los Angeles.       At one point he suffered a loss of

2    50 kilos in Los Angeles, and he also lost a car because it was

3    seized by the police in Mexico and it had money.          So they

4    blamed him.

5    Q     Who blamed him?

6    A     El Cuate blamed Santos.

7    Q     And what happened next?

8    A     Well, Cuate called me and he told me to tell my

9    brother-in-law, Santos, to pay his money or he was going to

10   kill him.     I told him that I didn't -- well, ah, I told him

11   that I was going to tell him.       And then he said, Well, or you

12   can pay me the money.      And I told him, No, because there was

13   no reason for me to pay him the money because I didn't owe him

14   any, and that I was going to try for things to be resolved in

15   the best possible way and for him to pay him.

16   Q     And did you have a conversation with Santos, your

17   brother-in-law, where you told him that Cuate was looking for

18   this money?

19   A     Yes.

20   Q     And what happened next?

21   A     Well, I told Santos, You know, it's best -- if it would

22   be easier try to go and figure things out to see maybe if he

23   can give you more work and then that way you can pay.           He went

24   to see him and he killed him.

25   Q     And did you know that your brother-in-law was going to be

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 115 of 152 PageID #:
                                    9178                               2651
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    killed?

2    A     No.

3    Q     Have you ever threatened a person in connection with drug

4    trafficking?

5    A     Yes.

6    Q     About how many times?

7    A     Two or three times.

8    Q     And in general over what?

9    A     For money that was owed to me.

10   Q     And have you ever directed your workers or associates to

11   threaten other people?

12   A     Yes.    One time I sent two of my workers to threaten a

13   person who owed me $1 million.

14   Q     And was that in connection with drug trafficking?

15   A     Yes, it was from the sale of drugs.

16   Q     Have you ever possessed guns?

17   A     Yes.

18   Q     Why?

19   A     To defend my house.

20   Q     And did you possess guns in the United States?

21   A     Yes.

22   Q     And when you had a gun in the United States, was it

23   licensed?

24   A     No.

25   Q     Did you ever have bodyguards?

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 116 of 152 PageID #:
                                    9179                               2652
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    A     Yes.

2    Q     During what time period?

3    A     What time period?     Approximately between 2001 and 2007 or

4    2008, for them to take care of my family.

5    Q     And just to be clear, were those bodyguards members of

6    the cartel or were they privately retained?

7    A     I hired them privately.

8    Q     Now, were you aware whether the cartel used violence

9    while you were a member?

10   A     Yes.

11   Q     And how did you know that?

12   A     Well, because Flaco told me about Vicente Carrillo.

13   Sombrita also told me about Vicente Carrillo.

14   Q     And when you say, "told you about Vicente Carrillo," what

15   do you mean?

16   A     Well, they told me that Vicente Carrillo was an assassin,

17   that he killed a lot of people.

18   Q     And what was your understanding of the purpose for which

19   the cartel used violence?

20   A     Well, first of all, to defend their turf, meaning the

21   area they controlled; to defend the drugs; and people who owe

22   them money; and enemies from other cartels.

23   Q     And how, if at all, did you benefit from that violence?

24   A     Yes.    I did benefit in the sense that since I worked for

25   the cartel, I felt safe.       I didn't think anybody could get to

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 117 of 152 PageID #:
                                    9180                               2653
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    me.

2    Q     Now, let's switch gears a little bit, talk about a couple

3    meetings after your train route closed.

4                 Now, after the route closed, did you meet with any

5    Chicago-based persons?

6    A     Yes.

7    Q     And who was that?

8    A     Well, I met on two occasions with different people.           One

9    time I met with Christian.       He worked for me.     And on another

10   occasion, I met up with the twins' older brother.

11   Q     And when you're saying "the twins," who are you referring

12   to?

13   A     The Chicago twins.

14   Q     Now, when you met with the older brother of the twins,

15   was anyone present with them?

16   A     Yes.    There was another young man there, another guy.

17   Q     And do you recall who that was?

18   A     No.    No, no.   I never found out.

19   Q     When was this meeting?

20   A     Approximately 2005, '06, or 2007.

21   Q     And where did it occur?

22   A     In Guadalajara, Jalisco at one of my houses.

23   Q     Now, had you ever heard about the Chicago twins before

24   this?

25   A     Yes.

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 118 of 152 PageID #:
                                    9181                               2654
                        SANCHEZ - DIRECT - MR. ROBOTTI

1    Q     When did you first hear about them?

2    A     Yes, it was approximately in '97 or '98.         I actually

3    heard about them through a person who worked for me, Jesus.

4    He sold drugs for me in Chicago.

5    Q     And what did Jesus tell you about the Chicago twins?

6    A     Well, I asked him when he was going to pay me for the

7    merchandise, for some drugs that he owed me for.          And he

8    replied that the twins still hadn't paid him, and that that

9    was the reason he couldn't pay me.

10   Q     All right.    So directing your attention back to the

11   meeting with the twins' older brother.         How did that come

12   about?

13   A     Well, that meeting took place through one of my workers

14   by the name of Mauricio.

15   Q     And could you tell the jury what happened during that

16   meeting?

17               MR. PURPURA:    Objection.

18               Judge, could we have a brief sidebar?

19               THE COURT:    Yes.

20               (Continued on the next page.)

21

22

23

24

25

                David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 119 of 152 PageID #:
                                    9182                               2655
                          SIDEBAR CONFERENCE - SEALED

1                (The following occurred at sidebar.)

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 120 of 152 PageID #:
                                    9183                               2656
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    BY MR. ROBOTTI:

2    Q     All right.    So we were speaking about this meeting with

3    the twins' older brother.       Could you tell us what occurred

4    during this meeting?

5    A     Yes, of course.     Yes, well, the twins' older brother came

6    to me and asked if I would buy two SUVs that he was selling.

7    That's how he opened up the conversation.         Later on he asked

8    me if I had somebody who could supply him with cocaine in

9    Chicago or if I was working.       I said I was no longer working

10   and that I had -- didn't have anyone else.

11               And he said, No, well, trust us.        So we sell a lot

12   of merchandise in Chicago.       He said, We get 500,000 kilos and

13   we sell them very quickly.       And he said, Chapo Guzman supplies

14   us.   He said, Vicente Carrillo supplies us and also the

15   Beltran-Leyvas supply us.

16   Q     Now, did you know the name of either of the Chicago

17   twins?

18   A     Pedro -- Pedro -- well, my worker, Mauricio, did mention

19   them both, but I remember Pedro.

20   Q     And just to go back for a second.        What was the amount of

21   cocaine that the twins' older brother said he was receiving in

22   Chicago?

23   A     He said from 500 to one ton.

24   Q     So 500 kilos to one ton?

25   A     To one ton, yes.

                David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 121 of 152 PageID #:
                                    9184                               2657
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    Q     Now, did Mauricio mention to you where the twins were

2    living at this time?

3    A     Yes.

4    Q     And where was that?

5    A     In Guadalajara, Jalisco, at a -- in a suburb by Acuaducto

6    Avenue and Patria Avenue.

7    Q     Now, are you familiar with someone known as El Profe?

8    A     Yes.

9    Q     And did he have any relationship with the twins, to your

10   knowledge?

11   A     Yes.

12   Q     And how do you know that?

13   A     Through Mauricio.     He was the one who introduced him to

14   the Cuate group, the twins are -- I'm sorry.          El Profe

15   introduced him to the twins.

16   Q     And do you recall ever seeing the twins' older brother

17   again after this?

18   A     No.    I don't remember if I saw him again.

19   Q     And do you recall ever meeting the twins after this?

20   A     No, no.    I don't remember, no.

21   Q     Now, have you ever had plastic surgery?

22   A     Yes.

23   Q     How many times?

24   A     Three times.

25   Q     And about what years?

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 122 of 152 PageID #:
                                    9185                               2658
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    A     Well, the first one was in the '90s or 2000.          I don't

2    remember exactly.     The second one was in 2006, 2007.        And the

3    third one was in 2011 when I wanted to change my face.

4    Q     Okay.    And were the first two procedures also on your

5    face?

6    A     Yes, my nose and my eyes.

7    Q     And was this last procedure, the one to change your face,

8    successful?

9    A     No.

10   Q     Why not?

11   A     Because I have high blood pressure and when I was about

12   to undergo surgery, I was bleeding a lot and the doctor

13   decided to stop it.

14   Q     And why were you trying to change your face?

15   A     Because I was wanted by the U.S. authorities.

16   Q     Now, following the 2003 seizure in New York, did you

17   engage in any other types of drug trafficking?

18   A     Yes.

19   Q     And when was the last time you engaged in drug

20   trafficking?

21   A     Approximately in 2007, 2008, I don't really remember.

22   Q     And about how much cocaine did you traffic from 2003 to

23   2007 or 2008?

24   A     Well, one boat with the 2500 kilos, and on another

25   occasion 50 kilos from Panama to Mexico, and on the third

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 123 of 152 PageID #:
                                    9186                               2659
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    occasion, approximately 500 kilos from Panama to Mexico.

2    Q     Now, are you familiar with someone name Chupeta?

3    A     Yes.

4    Q     Do you recall ever meeting him?

5    A     I don't remember having met him.        On occasions, I did go

6    to Colombia.     I met people, but they wouldn't tell me their

7    names.

8    Q     Now, how did you learn about Chupeta?

9    A     Through Conejo, a Colombian.

10   Q     And you testified earlier that you engaged in drug

11   trafficking with Conejo, right?

12   A     Correct.

13   Q     And you also testified that he supplied the cartel; is

14   that accurate?

15   A     That's accurate.

16   Q     Showing you what's been marked as Government Exhibit 67

17   in evidence.     Do you recognize this person?

18   A     Yes.

19   Q     And who is that?

20   A     El Conejo.

21   Q     Now, what was the purpose of your conversation with

22   Conejo about Chupeta?

23   A     Well, the conversation came up because I told him I was

24   working with Diego Montoya, one of the most important drug

25   traffickers in Colombia.

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 124 of 152 PageID #:
                                    9187                               2660
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1                 MR. PURPURA:    Objection.

2                 THE COURT:   When did this happen?

3    BY MR. ROBOTTI:

4    Q     When did this conversation occur?

5    A     Approximately in 2000, 2001.

6    Q     And what did Conejo say to you about Chupeta?

7    A     That he said, No, there are other drug traffickers that

8    are bigger than Diego.      He said, There's Chupeta.       He has a

9    lot of money, and he works for the Sinaloa guys, for the

10   Sinaloa Cartel people -- I'm sorry.        He sends drugs to the

11   Sinaloa Cartel.

12   Q     Now, do you know whether you transported any drugs

13   supplied by Chupeta over your train routes?

14   A     The truth is I don't know.

15   Q     And, generally, did you know all the Colombian suppliers

16   whose drugs you transported by train?

17   A     No.

18   Q     Now, who in the Sinaloa Cartel did Conejo primarily work

19   with?

20   A     Yes.    With the Beltran-Leyva brothers and with Nacho

21   Coronel.

22   Q     And in general what was your relationship with the

23   Beltran-Leyva brothers?

24   A     No, I had no relationship with them.

25   Q     And why was there no relationship between you and Arturo

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 125 of 152 PageID #:
                                    9188                               2661
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    Beltran-Leyva?

2    A     No -- well, because he was jealous that I worked with

3    Conejo.

4    Q     How did you know that?

5    A     Because of Conejo himself.       He said that his Tio --

6    uncle -- because he called Conejo uncle.         He said his uncle

7    was angry with him because he was working with me.

8    Q     Now -- I'm sorry.     El Tio was whose nickname?

9    A     Arturo, Arturo Beltran-Leyva.

10   Q     So Conejo called Arturo Beltran-Leyva Tio?

11   A     Yes.

12   Q     All right.    So let's speak a little bit about your

13   cooperation with the Government.

14                THE COURT:   Before you go there, do you want to take

15   our afternoon break?

16                MR. ROBOTTI:   Yeah, that would be great, Your Honor.

17                THE COURT:   Fifteen minutes, ladies and gentlemen.

18   Please don't talk about the case.        See you at 3:25.

19                (Jury exits the courtroom.)

20                (The following matters occurred outside the presence

21   of the jury.)

22                THE COURT:   Everyone can be seated.

23                Let me see Counsel at sidebar for just a second.

24                (Continued on the next page.)

25

                  David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 126 of 152 PageID #:
                                    9189                               2662
                             SIDEBAR CONFERENCE

1                            (The following occurred at sidebar.)

2                THE COURT:    I'm revisiting one of the in limine

3    rulings I made pretrial -- I think it was pretrial -- having

4    to do with cross-examining this witness on his drunk driving

5    arrest.    I do not want him cross-examined on his drunk driving

6    arrest, but the bribe that he allegedly paid in connection

7    with getting that arrest dismissed, I am kind of leaning

8    towards going in that direction unless, and I haven't heard it

9    but I probably will, is that there's just so much evidence of

10   dishonesty that it really loses any probative value and has no

11   prejudicial impact.      If I do allow anyone to go into it, it

12   will, again, be not to say he was arrested for drunk driving,

13   but he was arrested for a driving offense and he committed

14   bribery or allegedly committed bribery in connection with

15   that.

16               I am telling you now so you can draw your teeth on

17   it if you want to.      I am telling the defendant because you

18   guys may not need it because he is -- like I said in the

19   decision, I think you have got plenty.         But technically,

20   that's admissible.      The only reason I keep it out is Rule 403,

21   because there is an abundance of other evidence itself.

22               Let's see how it develops and I will leave it to the

23   prosecutors as to whether they want to bring it out on direct.

24               MR. ROBOTTI:    Yes, Your Honor.     I am going to elicit

25   it in the back portion here his past bribes that he did pay

                David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 127 of 152 PageID #:
                                    9190                               2663
                             SIDEBAR CONFERENCE

1    the federal police in Mexico, which I think was the basis for

2    keeping this out to begin with, was that it was going to be

3    cumulative as compared to those other bribes and prejudicial

4    given the nature of the arrest.

5                So I think that is still our position here --

6                MR. PURPURA:    Judge, I can shortcut this.

7                If my cross-examination depends on a bribe from a

8    DWI, I'm in trouble.

9                THE COURT:    Say that again.     You're in trouble --

10               MR. PURPURA:    I'm not going into it.

11               THE COURT:    Well, that was the essence of my ruling

12   anyway, was that --

13               MR. PURPURA:    I agree.    I agree.

14               THE COURT:    So it's almost moot anyway.

15               Okay.   We're in recess.

16               (Continued on next page.)

17

18

19

20

21

22

23

24

25

                David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 128 of 152 PageID #:
                                    9191                               2664
                             SIDEBAR CONFERENCE

1                (Sidebar ends; in open court.)

2                (Recess taken.)

3                (Continued on the next page.)

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                David R. Roy, RPR - Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 129 of 152 PageID #:
                                    9192                               2665
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1                 THE COURT:   Let's have the jury please.

2                 Still finishing today, Mr. Robotti?

3                 MR. ROBOTTI:   Yes, your Honor.     I think I'll be done

4    in the next hour.

5                 (Jury enters.)

6                 THE COURT:   Be seated, please.     Proceed,

7    Mr. Robotti.

8                 MR. ROBOTTI:   Thank you, Judge.

9    BY MR. ROBOTTI::

10   Q     Mr. Martinez, a couple of follow up questions from before

11   the break.     You testified about a conversation where Alvarez

12   Tostado passed a message to you from Vincent Carrillo.           When

13   was that conversation?

14   A     Approximately in 2004.

15   Q     Have you ever paid any bribes?

16   A     Yes.

17   Q     To whom?

18   A     The federal police.

19   Q     In Mexico?

20   A     Yes.

21   Q     For what purpose did you pay those bribes?

22   A     To protect the drugs that I was transporting.

23   Q     About how many times did you do that?

24   A     Five, ten times.

25   Q     How much money in bribes did you pay on those occasions?

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 130 of 152 PageID #:
                                    9193                               2666
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    A     Between 100 and -- between 100 and $150,000 per time.

2    Q     Is that U.S. dollars?

3    A     Yes.

4    Q     Let's go back to your cooperation with the Government.

5    At some point were you arrested for the crimes you committed

6    in connection with the cartel.

7    A     Yes.

8    Q     When was that?

9    A     It was February 2 of 2014.

10   Q     Where were you arrested?

11   A     In the city of Leon, Guanajuato Mexico.

12   Q     Shortly after your arrest did you meet with agents from

13   the U.S. Government while in Mexico?

14   A     Yes, at the jail.

15   Q     Who else was present aside from U.S. authorities?

16   A     Mexican authorities, from the PGR.

17   Q     Were you cooperating with U.S. Government at the time?

18   A     No.

19   Q     Were you completely truthful during that meeting?

20   A     No.

21   Q     What were you not truthful about?

22   A     Well, about two things.      The first one was when they

23   asked me how long it had been since I had seen my former wife.

24   I told them that she had left me in 2010 and that I hadn't

25   seen her since.     And I that was a lie, because I would see her

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 131 of 152 PageID #:
                                    9194                               2667
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    and my daughters frequently.

2    Q     What else were you not truthful about?

3    A     They asked me if I had any properties, and I said no.

4    Q     Why did you lie about that?

5    A     Because I was afraid that the Government was going to

6    take them from me.

7    Q     During this meeting with U.S. and Mexican authorities,

8    did you acknowledge your involvement in drug trafficking?

9    A     Yes.

10   Q     Were you subsequently extradited to the United States?

11   A     Yes.

12   Q     When were you extradited?

13   A     I was extradited on December, either the 17 or the 18, of

14   2015.

15   Q     After your extradition, did you later start cooperating?

16   A     While I was here, yes.

17   Q     After you started cooperating, were you truthful with the

18   Government?

19   A     Yes.

20   Q     Did you ultimately enter into a cooperation agreement

21   with the Government?

22   A     Yes.

23   Q     Let's talk about that agreement.        Did you plead guilty

24   pursuant it a cooperation agreement on October 19, 2016.

25   A     Yes.

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 132 of 152 PageID #:
                                    9195                               2668
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    Q     I'd like to show what you is marked for identification as

2    3500-TMS-2A.     Do you recognize this?

3    A     Yes.

4    Q     What is it?

5    A     That's the cooperation agreement.

6                 MR. PURPURA:   No objection, your Honor.

7                 MR. ROBOTTI:   The Government offers this into

8    evidence, your Honor.

9                 THE COURT:   Received.

10                (Government Exhibit 3500-TMS-2A, was received in

11   evidence.)

12   BY MR. ROBOTTI::

13   Q     Looking at page 12 of 3500-TMS-2A, do you recognize your

14   signature?

15   A     Yes.

16   Q     To what charges did you plead guilty?

17   A     To the biggest one, distribution and importation of

18   cocaine into the United States.

19   Q     During what time period were those charges?

20   A     From '99 to 2003.

21   Q     At the time of your guilty plea, did the Court advise you

22   of the maximum term of imprisonment that you're facing on the

23   drug charge?

24   A     Yes.

25   Q     What is that?

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 133 of 152 PageID #:
                                    9196                               2669
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    A     Life.

2    Q     Were you also advised of the minimum term of imprisonment

3    you were facing on the drug charge?

4    A     Yes.

5    Q     What is that?

6    A     Ten years.

7    Q     Have you been sentenced yet for the crimes to which you

8    pled guilty?

9    A     Not yet.

10   Q     When will you be sentenced?

11   A     When I finish my cooperation.

12   Q     Has the Government promised you a specific sentence in

13   exchange for your cooperation?

14   A     No.

15   Q     Who decides your sentence?

16   A     Only the honorable judge.

17   Q     What do you hope to receive from the Government in

18   exchange for your cooperation?

19   A     The 5k.1 letter.

20   Q     What is your understanding of what a 5k.1 letter is?

21   A     Well, it's a report that the Government will send the

22   judge.

23   Q     About your cooperation?

24   A     About my cooperation.

25   Q     Does that letter require the judge to give you a

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 134 of 152 PageID #:
                                    9197                               2670
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    particular sentence?

2    A     No.

3    Q     Are you familiar with what is known as an S Visa?

4    A     Yes.

5    Q     Has the Government agreed that it may apply for an S Visa

6    for you?

7    A     Yes.

8    Q     What are you required to do as a cooperating witness?

9    A     Mostly, mainly rather, to tell the truth.         And to be here

10   as needed at trials, to go to all the meetings that the

11   Government asks of me, and to pay a $2 million fine.

12   Q     Have you agreed in your cooperation agreement with the

13   Government that you're going to pay forfeiture in the amount

14   of $2 million?

15   A     Yes.

16   Q     Under your agreement, by when must you pay that?

17   A     Before I go to my sentence.

18   Q     Have you met with the Government in preparation for your

19   testimony today?

20   A     Yes.

21   Q     About how many times?

22   A     Approximately 30 times.

23   Q     Is that over the last 18 months or so?

24   A     Yes, approximately.

25   Q     Are you presently in the Witness Security Program?

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 135 of 152 PageID #:
                                    9198                               2671
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    A     Yes.

2    Q     Before you went into protective custody, were you housed

3    in another jail?

4    A     Yes.

5    Q     While you were there, did you lie to a prison official?

6    A     Yes.

7    Q     What did you tell that official?

8    A     Well, I told the chief that a person had told me that

9    they wanted to hurt me.

10   Q     Why did you do that?

11   A     I like lied to him because I was really afraid, because I

12   had signed Chapo Guzman's extradition.

13   Q     As a result of that statement to the official, were you

14   placed in protective custody?

15   A     Yes.

16   Q     Did you voluntarily tell the Government about this?

17   A     Yes.

18   Q     What did you do after that?

19   A     After that I went and I talked to the chief, and I told

20   him to forgive me because I had lied to him.

21   Q     Let's turn back to 2002 and 2003 and three seizures that

22   occurred while you were running the train routes.           About when

23   was the first seizure?

24   A     Approximately May or June of 2002.

25   Q     About what quantity of cocaine was seized?

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 136 of 152 PageID #:
                                    9199                               2672
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    A     Close to 2 tons.

2    Q     How did you learn about the seizure?

3    A     Through my worker, Ramiro Sanchez.

4    Q     What was Ramiro Sanchez's role in the shipment?

5    A     Him and his people would unload the drugs from the train;

6    more specifically, from the tanker car.

7    Q     Where was the seizure?

8    A     In Brooklyn.

9    Q     About how long after the seizure did you first learn

10   about it?

11   A     Hours later.

12   Q     By what means?

13   A     Ramiro Sanchez called me on the phone.

14   Q     Did you ever meet with Ramiro Sanchez in person about

15   this seizure?

16   A     Yes.

17   Q     How long after the seizure?

18   A     Days later, I would say five or ten days later.

19   Q     Where was that meeting?

20   A     In one of my houses in Guadalajara Jalisco, Mexico.

21   Q     Will you tell the jury what you learned from Ramiro

22   Sanchez about the seizure during these conversations?

23   A     Yes, of course.     Well, Ramiro Sanchez called me and he

24   told me that the person that was going to deliver the cocaine

25   that that person, Pedro, had forgotten his keys inside the

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 137 of 152 PageID #:
                                    9200                               2673
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    warehouse.    And Pedro had to jump over in order to get the

2    keys back.    And Ramiro Sanchez was at a certain distance away

3    from there, a few miles a way, or a mile.         I mean, he did say

4    that he was a long distance.       And he saw that there were

5    patrol cars right outside of the warehouse.          And he didn't

6    really give me more elaborate explanation.

7    Q     Was anyone arrested?

8    A     Yes.

9    Q     Had you ever met the people who were arrested?

10   A     I did not meet the people.

11   Q     Did you know the names of any of the people who were

12   arrested?

13   A     Yes, I knew of one of them, Pedro.

14   Q     Who else, if anyone, did you speak with following the

15   seizure?

16   A     Yes, I spoke to Vincent Carrillo.

17   Q     Can you tell the jury about that conversation?

18   A     Yes.   I called him and I said, sir, the police came to

19   the warehouse.     And that's where the merchandise was.        And he

20   asked, well, how did that happen?        And I said, sir, I do not

21   know.   And I said, well, my worker, the one who is in charge

22   of receiving the drugs in New York, he's coming to talk to me.

23   He said, well, let's see if my godfather gets upset.           And he

24   was referring to Mayo Zambada.

25   Q     What happened next?

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 138 of 152 PageID #:
                                    9201                               2674
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    A     Well, later on, days later, about 15 or 20 days later, he

2    called me and he said you know what, Mecanico, you're not to

3    blame at all, you're not at fault.

4    Q     Who called you?

5    A     Vincent Carrillo called me.

6    Q     Was there any explanation as to why you weren't to blame?

7    A     Yes.   He told me that his godfather's people, meaning

8    Mayo Zambada's people, they have gotten attorneys for the ones

9    who have been arrested.      And he said that there was a police

10   report.    And the police report showed that the people who were

11   on the way to receiving the merchandise were being followed.

12   Q     Was that significant to you?

13   A     Yes, of course.

14   Q     Why?

15   A     Well, because first of all I was calm because I wasn't

16   going to have any problems with either Vicente or Mayo.            And

17   secondly, I was going to be able to continue working, meaning

18   bringing drugs from Mexico into the United States, because the

19   seizure had taken place at the distribution warehouse and not

20   at the warehouse where they would receive the train.

21   Q     Where was the train warehouse located at this time?

22   A     In New Jersey.

23   Q     How were the drugs transported from the train warehouse

24   in New Jersey to the distribution warehouse in Brooklyn at

25   this time?

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 139 of 152 PageID #:
                                    9202                               2675
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    A     Yes, they were transported in a small cargo truck.

2    Q     Where were the drugs hidden in it that truck?

3    A     Inside a secret compartment within a false wall at the

4    back end of the box.

5    Q     What changes, if any, did you make following this

6    seizure?

7    A     Yes, I changed, well obviously, I changed the

8    distribution warehouse.      And I changed people, meaning my

9    workers.

10   Q     At some point did you also change the train warehouse?

11   A     Yes.

12   Q     How long after the seizure was that?

13   A     I don't know, about two, three months later.

14   Q     Where did you change the train warehouse to, what

15   location?

16   A     To Queens, New York.

17   Q     Did you make additional train shipments to New York

18   following the seizure?

19   A     Yes.

20   Q     Let's turn to the second seizure, when was that?

21   A     Yes, the second seizure was in Chicago.         It was

22   approximately in July or August of 2002.

23   Q     Where was it?

24   A     At the distribution warehouse in Chicago.

25   Q     How did you learn about this seizure?

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 140 of 152 PageID #:
                                    9203                               2676
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    A     Yes, it was through a worker, Rafael Barragan.

2    Q     What was Rafael's role in the drug shipment?

3    A     Well, he was in the house.       He was in charge of cleaning

4    the house where they lived and also of cooking the meals.

5    Q     Was he aware of the drug trafficking shipment coming

6    there to your knowledge?

7    A     Yes.

8    Q     About how long after the seizure did you learn about it

9    from Rafael?

10   A     I don't remember exactly.       I don't know if it was the

11   same day or the following day.

12   Q     Was that by phone?

13   A     Yes, by phone.

14   Q     Did you later meet with Rafael?

15   A     Yes.

16   Q     Where was that?

17   A     In Guadalajara Jalisco, Mexico.

18   Q     Will you tell the jury what Rafael told you about the

19   seizure during these conversations?

20   A     Of course.    Rafael came to Guadalajara Jalisco, Mexico,

21   and told me the police had come to the warehouse where the

22   cocaine was stored.      He said they took Javier away, and Andres

23   Robles.    And they had come finding him, or looking for him, at

24   the house where he was living.        And that they had released him

25   because he said that to them that he was only there to clean

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 141 of 152 PageID #:
                                    9204                               2677
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    the house and to cook food, and that he knew nothing about the

2    merchandise.     But later on he told them the truth, that he did

3    know about the merchandise, but that he didn't work

4    distributing it.

5    Q     Just to be clear about what quantity of cocaine was

6    seized?

7    A     I don't know, approximately 1800 to 2,000 kilos of

8    cocaine.

9    Q     You mentioned this was at the distribution warehouse, not

10   the train warehouse, right?

11   A     Correct.

12   Q     Was that significant to you?

13   A     Yes.

14   Q     Why?

15   A     Because I could keep working, bringing drugs from Mexico

16   to the United States, since nothing had happened at the train

17   warehouse.

18   Q     Now at that time, how were the drugs transported from the

19   train warehouse to the distribution warehouse in Chicago?

20   A     Same as New York, in a small cargo truck.

21   Q     Were the drugs hidden in there?

22   A     In a false wall at the end of the box.

23   Q     You mentioned Andre Robles and Javier were arrested, what

24   was Javier's last name?

25   A     Javier Cecena.

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 142 of 152 PageID #:
                                    9205                               2678
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    Q     I'd like to show what you is marked Government's Exhibit

2    38 and 88 for identification.       First looking at Government's

3    Exhibit 38, do you recognize this person?

4    A     Yes.

5    Q     Who is that?

6    A     Javier Cecena.

7    Q     Looking at Government's Exhibit 88, do you recognize this

8    person?

9    A     Yes.

10   Q     Who is that?

11   A     Andres Robles.

12                MR. ROBOTTI:   The Government offers Government's

13   Exhibit 38 and 88 into evidence.

14                MR. PURPURA:   No objection.

15                THE COURT:   Received.

16                (Government Exhibit 38 & 88, was received in

17   evidence.)

18   BY MR. ROBOTTI::

19   Q     So looking first at Government's Exhibit 88, who is that?

20   A     Andres Robles.

21   Q     And Government's Exhibit 38, is that Javier Cecena?

22   A     Yes.

23   Q     What if any conversation did you have with Vicente

24   Carrillo following the seizure?

25   A     Yes, I called him as soon as I learned about it.          And I

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 143 of 152 PageID #:
                                    9206                               2679
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    said, sir, they came to the warehouse once again.           The heat is

2    on us.    And he says, you just keep going.       Fuck it.    Don't be

3    a scaredy cat.     He says, let's see what Patas Cortas has to

4    say about this, referring to Chapo Guzman.

5    Q     What did you understand that to mean?

6    A     Well, to see if he was going to get angry.

7    Q     What steps, if any, did you take to assist the persons

8    who had been arrested?

9    A     Yes, through Christian, one of my workers, we got a

10   lawyer for them.

11   Q     Why did you get lawyers for the people who had been

12   arrested?

13   A     Yes, well, mainly so that they would feel protected and

14   they wouldn't talk about me.       Since they'd known me for many

15   years, I didn't want them to give my real name.

16   Q     What was your reaction to the seizure?

17   A     Well, my reaction was that I now thought the police was

18   following us.     I wanted to stop doing transport now.        But

19   Vicente said no, he wanted me to continue.

20   Q     Did you continue making train shipments to Chicago

21   following the seizure?

22   A     Yes.

23   Q     How many shipments did you send to Chicago following the

24   seizure?

25   A     I'm not too sure, but one or two, one or two loads after

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 144 of 152 PageID #:
                                    9207                               2680
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    that.

2    Q     What, if anything, did you change in Chicago following

3    the seizure?

4    A     Yes, I changed the people who distributed the drugs, and

5    I changed the distribution warehouse.

6    Q     When was the third and final seizure?

7    A     Yes, that was in January 2003.

8    Q     Where was that?

9    A     In Queens, New York.

10   Q     About how long after the shipment in Chicago was it?

11   A     Months later, three or four months later approximately.

12   Q     How did you learn about this seizure?

13   A     Yes, I learned about it through a worker called Potrillo

14   or Caballero.

15   Q     Two aliases for the same person?

16   A     Yes.

17   Q     What was his role in the shipment?

18   A     He had Ramiro Sanchez's role, receiving the tanker cars

19   with the drugs and distributing it.

20   Q     How did you speak with him following the seizure?

21   A     By phone.

22   Q     Did you ever meet with him in person?

23   A     Yes.

24   Q     Where was that?

25   A     In Guadalajara Jalisco, Mexico.

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 145 of 152 PageID #:
                                    9208                               2681
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    Q     Can you tell the jury what you learned about these

2    conversations with Potrillo about the seizure?

3    A     Yes, of course.     He told me that they had picked up a van

4    on Friday in order to deliver the drugs on Monday.           That they

5    had put the van inside the warehouse where the drugs were.

6    And that the police had come to the apartment where he was

7    staying at on Monday.      And they hadn't delivered the drugs

8    because it was a holiday.

9    Q     What happened when the police arrived at Potrillo's

10   apartment?

11   A     Well, he told me that Potrillo had seen them from up

12   above when they arrived.       And that when he saw them, he

13   grabbed a blanket and he climbed down to the apartment below.

14   And that he grabbed a knapsack with money and put it on his

15   back.

16   Q     So he climbed out his apartment window down to the

17   apartment below?

18   A     Yes, exactly.

19   Q     What happened next?

20   A     Well, the police came they knocked on the door.          They

21   asked if they knew the person who was staying up above.            And

22   the owner of the apartment said he didn't know anything about

23   anybody and he wanted them to leave his house.

24   Q     What is your understanding of why he said that?

25   A     Because he was hiding him.

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 146 of 152 PageID #:
                                    9209                               2682
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    Q      Why?

2    A      Because he was going to pay him between 30 and $50,000

3    for hiding him.

4    Q      Now, was this seizure at the train warehouse or at the

5    distribution warehouse?

6    A      No, at the train warehouse.

7    Q      Who had gotten that warehouse for you in New York?

8    A      Jose Gudino.

9    Q      Was this significant to you that it was at the train

10   warehouse?

11   A      Of course, very significant.

12   Q      Why?

13   A      Because I understood that means the transportation was

14   now done.

15   Q      Did Potrillo tell you what, if anything, was left out at

16   the warehouse before the seizure?

17   A      Well, I asked Potrillo, the first thing I asked Potrillo

18   was where the merchandise was when they arrived, when the

19   police arrived.     And he said it was inside the train car.         I

20   said if it was outside the secret compartment, and he said

21   yes.    I asked him if he had cleaned out the train car,

22   referring to whether he had taken the sheets off and the spot

23   welding spots, and he said no.

24   Q      Now was anyone arrested?

25   A      Yes, two people.

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 147 of 152 PageID #:
                                    9210                               2683
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    Q     Do you know their names?

2    A     No, I don't.

3    Q     Have you ever met them?

4    A     Yes, on one occasion.

5    Q     With whom, if anyone, did you speak following this third

6    seizure?

7    A     Yes, of course, I spoke to Vincent Carrillo.

8    Q     Could you tell us about that conversation?

9    A     Yes.    I told him, sir, the police came back to the

10   warehouse.     He said what happened.     And I said, I don't know.

11   The guy who was working with me is going to come and explain

12   things better.     And he got upset.     And he said let's see if

13   Patas Cortas gets upset.

14   Q     What happened next?

15   A     Well, days later we had some more conversations.          He told

16   me to continue using that route.

17                When I said he, I was referring to Vincent Carrillo.

18                And I said, no, no longer.      And in one of those

19   conversations he said that Patas Cortas said to come up with

20   another hidden compartment or trap in a box car.

21   Q     What did you understand that to mean?

22   A     Well, to set up another company, another train route, but

23   now using different train cars.

24   Q     Just to be clear, when the Vincent Carrillo was referring

25   to Patas Cortas, what did you understand that to mean?

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 148 of 152 PageID #:
                                    9211                               2684
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    A      Chapo Guzman, because that's the way he and I referred to

2    him.

3    Q      Did you take any steps to start a new train route with

4    the box cars after this?

5    A      No, I didn't, no.

6    Q      Why not?

7    A      Well, I just didn't want to keep going.

8    Q      Why?

9    A      Because they had already discovered that transportation

10   method and I didn't want to keep working with them.           It was

11   too much pressure.

12   Q      At some point did you have a conversation with Vicente

13   about your delay in coming up with a new train route?

14   A      Yes, of course, yes.     He said, invent or come up with

15   another way by land using cargo trucks.         When he saw I wasn't

16   doing anything on one occasion he says to me, brace yourself,

17   because Patas Cortas is angry.

18   Q      What did you do after?

19   A      Well, what did I do, I stopped answering -- well, I

20   delivered in that period of time some merchandise I had that

21   belonged to him.      And then I stopped answering.

22                 (Continued on next page.)

23

24

25

                         Rivka Teich CSR, RPR, RMR FCRR
                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 149 of 152 PageID #:
                                    9212                               2685
                    MARTINEZ SANCHEZ - DIRECT - MR. ROBOTTI

1    BY MR. ROBOTTI::

2    Q     Merchandise that belonged to whom?

3    A     To Vicente Carrillo.

4    Q     And how long after that did you leave Mexico City?

5    A     Can you repeat that question.

6    Q     Sure.

7                How long after that did you leave Mexico City?

8    A     Yes, two or three months later.

9    Q     Mr. Martinez, combined, how much money were these three

10   seizures worth?

11   A     Approximately, I don't know.       A hundred million dollars,

12   approximately.

13               MR. ROBOTTI:    Thank you.    I have no further

14   questions.

15               THE COURT:    All right.

16               I will send you home now, ladies and gentlemen.          No

17   media exposure to the case.       No research into the case.       No

18   communications with anyone about the case.            No social media.

19   No Googling, anything, yahooing, or anything like that.            Don't

20   post anything.     No tweeting.

21               We'll see you tomorrow at 9:30.          Thank you for your

22   attention.

23               (Jury exits the courtroom.)

24               THE COURT:    Okay, everyone be seated.        The marshals

25   can take the witness out.

                      LINDA D. DANELCZYK, RPR, CSR, CCR
                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 150 of 152 PageID #:
                                    9213                               2686
                                 PROCEEDINGS

1                I want to talk just for a minute about my in-camera

2    review of the four reports for tomorrow, which I've started

3    and not finished.

4                So far I'm not really seeing anything that I see any

5    way the defense can use.       On the other hand, I'm not sure I

6    understand all the redactions that the government has put into

7    it.

8                As I understand from the defendants there's no

9    complaint about the entirely blanked out pages, but there is a

10   complaint about the redactions, the line-by-line redactions,

11   which make some of them incomprehensible.

12               You know to the extent the government is worried

13   about embarrassing people.       I'm not seeing much in there that

14   is so embarrassing to people.       So consider that and maybe

15   delete those redactions.

16               To the extent it's compromising investigations or

17   witness safety, I think I saw some of that, but, of course,

18   that's harder for me to judge because I'm not privy to the

19   extent of the government's investigation.

20               But I am distinguishing between embarrassment

21   rationale and investigative or security rationale.           And if

22   it's the former, the first of those three, then the government

23   needs to convince me that you really need it in there, because

24   I'm not convinced yet.

25               The other thing that I think the government ought to

                      LINDA D. DANELCZYK, RPR, CSR, CCR
                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 151 of 152 PageID #:
                                    9214                               2687
                                 PROCEEDINGS

1    consider, and I think it can be done overnight, God knows

2    you're good enough at filing motions overnight.           You know,

3    something, what we referred to in another context as

4    "brutinization," whereby you could, instead of just having a

5    blank, you could have Person A, Company A, something like

6    that.   That may be feasible and may at least give the defense,

7    you know, a little more meaning than the paragraph that they

8    have with all these words missing.

9                So I want the government to think about that and see

10   if they can come up with a less redacted proposal for

11   cross-examination tomorrow morning.

12               But I'm not ruling.       I haven't ruling because I

13   haven't completed my review yet.          Those are just preliminary

14   thoughts I wanted to convey and if the government thinks my

15   advice is feasible, that would simplify and eliminate any

16   dispute we have over it.

17               Okay, anything else?

18               MS. PARLOVECCHIO:        Nothing else, Your Honor.

19               THE COURT:       Okay.   Have a good night.

20                            *      *     *    *    *

21               (Proceedings adjourned at 4:20 p.m. to resume on

22   December 11, 2018 at 9:30 a.m.)

23

24

25

                      LINDA D. DANELCZYK, RPR, CSR, CCR
                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 594 Filed 03/26/19 Page 152 of 152 PageID #:
                                    9215                               2688


1                                   I N D E X

2    WITNESS                                         PAGE

3
     TIRSO MARTINEZ SANCHEZ
4

5    DIRECT EXAMINATION        BY MR. ROBOTTI        2542

6
                                    I N D E X
7

8                                    EXHIBITS

9    GOVERNMENT                      PAGE
     83                             2552
10   3500-TMS-2A                    2671
     38 & 88                        2681
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                        Rivka Teich CSR, RPR, RMR FCRR
                           Official Court Reporter
